Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 1 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

)

AMERICAN CENTER FOR LAW )
AND JUSTICE, )
)

Plaintiff, )

)

Vv. ) Civ. A. No, 1:17-cv-01866

)

UNITED STATES DEPARTMENT OF )
JUSTICE, )
)

Defendant. )

)

 

DECLARATION OF DAVID M. HARDY

I, David M. Hardy, declare as follows:

(1) I am the Section Chief of the Record/Information Dissemination Section
(“RIDS”), Records Management Division (“RMD”) of the Federal Bureau of Investigation (the
“FBI”), located in Winchester, Virginia. I have held this position since August 1, 2002. Prior to
my joining the FBI, from May 1, 2001 to July 31, 2002, | was the Assistant Judge Advocate
General of the Navy for Civil Law. In that capacity, I had direct oversight of Freedom of
Information Act (“FOIA”) policy, procedures, appeals, and litigation for the Navy. From
October 1, 1980 to April 30, 2001, I served as a Navy Judge Advocate at various commands and
routinely worked with FOIA matters. I am also an attorney who has been licensed to practice
law in the State of Texas since 1980.

(2) In my official capacity as Section Chief of RIDS, I supervise approximately 248
employees who staff a total of twelve (12) FBI Headquarters (“FBIHQ”) units and two (2) field

operational service center units whose collective mission is to effectively plan, develop, direct,
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 2 of 95

and manage responses to requests for access to FB] records and information pursuant to the
FOIA as amended by the OPEN Government Act of 2007, the OPEN FOIA Act of 2009, and the
FOIA Improvement Act of 2016; the Privacy Act of 1974; Executive Order 13526; Presidential,
Attorney General, and FBI policies and procedures; judicial decisions; and Presidential and
Congressional directives.

(3) The statements contained in this declaration are based upon my personal
knowledge, upon information provided to me in my official capacity, and upon conclusions and
determinations reached and made in accordance therewith.

(4) Due to the nature of my official duties, I am familiar with the procedures followed
by the FBI in responding to requests made pursuant to the provisions of the FOIA, 5 U.S.C.

§ 552, and the Privacy Act, 5 U.S.C. § 552a. Specifically, 1 am aware of the FBI's response to
Plaintiff's FOIA request seeking “any and al records pertaining to Attorney General Loretta
Lynch's meeting with former President Bill Clinton on June 27, 2016, which occurred on her
airplane at the Sky Harbor International Airport in Phoenix, Arizona.”

(5) In response to Plaintiff's request, the FBI found and processed a total of twenty-
nine pages. Of the twenty-nine pages, nine pages were released in full and twenty pages were
released in part.

(6) In accordance with Vaughn v. Rosen, 484 F.2d 280 (D.C.Cir. 1973), this
declaration is being submitted in support of defendant’s motion for summary judgment. This
declaration provides the Court and Plaintiff with an explanation of the FBI’s recordkeeping

system, the procedures used to search for, review, and process the responsive records, and of the

FBI’s justification for withholding records in full or in part pursuant to FOIA Exemptions (b)(6)
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 3 of 95

and (b)(7)(C); and DOJ OIP’s justification for withholding of records pursuant to FOIA
Exemptions (b)(5) and (b)(6).'

PLAINTIFF’S FOIA REQUEST
(1355324-000 and -001)

(7) By letter dated July 15, 2016, attached hereto as Exhibit A, Plaintiff submitted a
FOIA request to the FBI seeking “any and all records pertaining to Attorney General Loretta
Lynch’s meeting with former President Bill Clinton on June 27, 2016, which occurred on her
airplane at the Sky Harbor International Airport in Phoenix, Arizona.” Plaintiff's request letter
stated that unless otherwise indicated, the timeframe of records requested is from June 13. 2016,
to the date the request was processed. Specifically, Plaintiff asked the FBI to produce the
following records:

Records Regarding Names of DOJ Officials Involved in Meeting-Related
Discussions or Decisions

1. Any and all records containing the names of any DOJ official, staff or
employee who participated in any discussion regarding the mecting
between General Lynch and Bill Clinton that occurred on Monday, June
27, 2016, at Sky Harbor International Airport in Phoenix, Arizona.

2. Any and all records containing the names of any DOJ official, staff or
employee who participated in any decision on or determination of whether
clearance, authorization or permission should be granted or in fact would
be granted to Bill Clinton to board General Lynch’s airplane on Monday,
June 27, 2016, at Sky Harbor International Airport in Phoenix, Arizona.

3. Any and all records containing the names of any person present in the
passenger compartment of General Lynch’s airplane during the meeting

 

' The Department of Justice’s Office of Information Policy (“DOJ OTP”) asserted Exemptions
(b)(5) and (b)(6) to withhold certain information on Bates pages FBI-2, 3, 12, 13, 23, and 24.
Portions of these pages are duplicative of material or information under consideration in pending
' civil action, American Center for Law and Justice v. United States Department of Justice, No.
16-CV-2188 (D.D.C.) (TJK), where Plaintiff challenged DOJ OIP’s assertion of Exemption
(b)(5) in these records, but did not challenge DOJ OIP’s Exemption (b)(6) withholdings.
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 4 of 95

between General Lynch and Bill Clinton that occurred on Monday, June _
27, 2016, at Sky Harbor International Airport in Phoenix, Arizona.

Records Regarding Meeting-Related Discussions or Decision

4. Any and all records, communications or briefings prepared, sent, received
or reviewed by General Lynch or any other DOJ official, staff or
employee, before the meeting between General Lynch and Bill Clinton
that occurred on Monday, June 27, 2016, at Sky Harbor International
Airport in Phoenix, Arizona, containing any discussion of or in any way
regarding the meeting.

5. Any and all records, communications or briefings prepared, sent, reccived
or reviewed by General Lynch or any other DOJ official, staff or
employee, af any time, containing any discussion of or in any way
regarding the meeting between General Lynch and Bill Clinton that
occurred on Monday, June 27, 2016, at Sky Harbor International Airport
in Phoenix, Arizona.

6. . Any and all records prepared, sent, received or reviewed by General
Lynch or any other DOJ official, staff or employee, at any time,
containing any discussion of or in anv way regarding the decision to grant
clearance, authorization or permission to Bill Clinton to board Genera!
Lynch’s airplane on Monday, June 27, 2016, at Sky Harbor International
Airport in Phoenix, Arizona.

Records Regarding Communication Received from Bill Clinton or Regarding
His Presence

7. Any and all records of any communication or briefing received by General
Lynch, any DOJ official, staff or employee from Bill Clinton or his staff
regarding the meeting between General Lynch and Bill Clinton that
occurred on Monday, June 27, 2016, at Sky Harbor International Airport
in Phoenix, Arizona, regardless of whether the communication or briefing
was received before, during, or afier the meeting.

8. Any and all records of any communication or briefings by which General
Lynch was advised that Bill Clinton was present at the Sky Harbor
International Airport in Phoenix, Arizona, on Monday, June 27, 2016.

Records Regarding Any Decision of Bill Clinton

9. Any and all records of any communication or bricfing prepared. sent,
received or reviewed by General Lynch, her staff. or any other DOJ
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 5 of 95

10.

11.

official or employee or any other person from June 13, 2016 to Sunday,
June 26, 2016, containing any discussion of or in any way naming,
regarding, involving, or referencing Bill Clinton.

Any and all records of any communication or briefing prepared, sent.

- received or reviewed by General Lynch, her staff, or any other DOJ

official or employee on Monday, June 27, 2016, containing any discussion
of or in any way naming, regarding, involving or referencing Bill Clinton,
regardless of whether the communication or briefing was prepared or sent
before, during or after the meeting between General Lynch and Bill
Clinton,

Any and all records of any communication or briefing prepared, sent,
received or reviewed by General Lynch, her staff. or any other DOJ
official or employee on Tuesday, June 28, 2016, or after, containing any
discussion of or in any way naming, regarding, involving or referencing
Bill Clinton.

Records Regarding Discussion of Ethics Rules or Professional Codes of
Conduct Governing Attorneys

12.

13.

14.

Any and all records of any communications or briefing prepared. sent.
received or reviewed by General Lynch, her staff, or any other DOJ
official or employee before the meeting on Monday, June 27, 2016,
between General Lynch and Bill Clinton at Sky Harbor International
Airport in Phoenix, Arizona, containing any discussion of ethics rules or
DOJ Standards of Conduct governing attorneys in connection with the
meeting or Lynch’s relationship with Bill Clinton.

_ Any and all records of any communication or briefing prepared, sent,

received or reviewed by General Lynch, her staff, or any other DOJ
official or employee after the meeting on Monday, June 27, 2016, between
General Lynch and Bill Clinton at Sky Harbor International Airport in
Phoenix, Arizona, containing any discussion of ethics rules or DOJ
Standards of Conduct governing attorneys in connection with the mecting
or Lynch’s relationship with Bill Clinton.

Any and all records, communications or briefings prepared, sent, received
or reviewed by General Lynch, her staff, any DOJ official or employee,
regarding or containing any discussion of the contents or requirements of

' 5 C.F.R. § 45.2 in connection with the meeting or Lynch’s relationship

with Bill Clinton.{]
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 6 of 95

Records Regarding Discussion of or Decisions on Response to Press

15. Any and all records of any communication or briefing prepared, sent,
received or reviewed by General Lynch, her staff, or any other DOJ
official or employee after the meeting on Monday, June 27, 2016, between
General Lynch and Bill Clinton at Sky Harbor International Airport in
Phoenix, Arizona, containing any discussion of the press, responding to
the press, or the content of any press release or public statements in
connection with the meeting.

16. Any and all records of any communication or briefing prepared, sent,
received or reviewed by General Lynch, her staff, or any other DOJ
official or employee affer the meeting on Monday, June 27, 2016, between
General Lynch and Bill Clinton at Sky Harbor International Airport in
Phoenix, Arizona, containing any decision regarding the press,
responding to the press, or the content of any press release or public
statements in connection with the meeting.

(8) Plaintiff also requested expedited processing and a waiver of all search and
duplication fees associated with its request. In addition, Plaintiff provided a Memorandum in
Support of Requested Fee Waiver and Expedited Processing. (See Exhibit A.)

(9) By letter dated August 5, 2016, attached hereto as Exhibit B, the FBI
acknowledged receipt of Plaintiff's FOIA request and assigned it FOIPA Request Number
1355324-000. The FBI further advised (1) it was searching for responsive information;

(2) considering the fee waiver request; and (3) for purposes of assessing fees, Plaintiff was
considered an educational institution, noncommercial scientific institution or representative of
the news media, and if fees were to be assessed, plaintiff would be charged applicable
duplication fees in accordance with 5 U.S.C. § 552 (a)(4)(A)(ii)CD. The FBI further advised
Plaintiff that the status of its request could be checked on www. fbi.gov/foia and that it may file
an appeal, by mail or online with DOJ OIP, within ninety days from the date of the letter. (See

Exhibit B.)
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 7 of 95

(10) By asecond letter, also dated August 5, 2016, attached hereto as Exhibit C, the
FBI informed Plaintiff that its request for expedited processing was denied because Plaintiff did
not provide enough information to meet the requirement for expedited processing set out in 28
C.F.R. § 16.5 (e)(1)(ii) (“An urgency to inform the public about an actual or alleged federal
government activity, if made by a person primarily engaged in disseminating information.”).
The FBI further advised Plaintiff of its right to appeal the FBI’s decision by submitting an
appeal, by mail or online with OIP, within ninety days from the date of the letter. Finally, the
FBI advised Plaintiff it may seek dispute resolution services by contacting the Office of
Government Information Services (‘OGIS”) by telephone or by email at ogis@nara.gov. (See
Exhibit C.)

(11) By letter dated August 23, 2016, attached hereto as Exhibit D, the FBI informed
Plaintiff that, upon further review of Plaintiff's request for expedited processing it was
determined Plaintiff provided enough information to meet the standard for expedited processing
set out in 28 C.F.R. § 16.5 (e)(1 (iv) (SA matter of widespread and exceptional media interest in
which their exist possible questions about the government’s integrity which affect public
confidence.”). Thus, Plaintiff's request for expedited processing was approved. The FBI further
advised Plaintiff of its right to appeal the FBI’s decision by submitting an appeal, by mail or
online with the OIP, within ninety days from the date of the letter. Finally, the FB] advised
Plaintiff it may seek dispute resolution services by contacting OGIS by telephone or by email at
ogis@nara.gov. (See Exhibit D.)

(12) By letter dated October 21, 2016, attached hereto as Exhibit E, the FBI advised
Plaintiff no records responsive to its request were located. The FBI further advised Plaintiff of

its right to appeal the FBI’s decision by submitting an appeal, by mail or online with the OIP,
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 8 of 95

within ninety days from the date of the letter. Finally, the FBI advised Plaintiff it may seek
dispute resolution services by contacting OGIS by telephone or by email at ogis@nara.gov. (See
Exhibit E.)

(13) By letter dated August 10, 2017, attached hereto as Exhibit F, the FBI advised
Plaintiff of a change in status of Plaintiff's request to the FBI. Specifically. the FBI advised that
subsequent to its no record response to Plaintiff dated October 21. 2016. DOJ OIP forwarded
communications it located through its search on the identical request to FBI for consultation, and
the FBI identified a limited number of privacy redactions (Exemptions 6 and 7(C)) to protect the
identities of FBI personnel contained within these communications. As a result, the FBI advised
(1) it determined records potentially responsive to Plaintiff's request may exist; (2) Plaintiffs
request was reopened as FOIPA Request No. 1355324-001; and (3) a search for responsive
matcrial was being performed. Finally, the FBI advised Plaintiff to check the status of its FOIA
request via www. fbi.gov/foia website under “Contact Us.” (See Exhibit F.)

(14) On September 11, 2017, emails were exchanged between the FBI’s Public
Information Officer (“PIO”), and Colby May, counsel for Plaintiff, his colleague Carly F.
Gammill, and other copied recipients at Plaintiff's office. The initial email from Mr. May
notified the FBI’s PIO that he authorized her to communicate directly with his colleague Ms.
Gammill concerning FOIPA Request No. 1355324-001. The second email from the FBI's PIO
advised Ms. Gammill that she attempted to return her call at the number provided and received a
message indicating it was not a valid extension, and asked if there was another number where
she should be contacted. The third email from Ms. Gammill to the FBI’s PIO stated that the
latter had confirmed that the initial grant of expedited processing would be applied to the re-

opened request. The fourth and final email from the FBI's PIO advised Ms. Gammill that once
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 9 of 95

expedited processing is approved, the Record/Information Dissemination Section processes the
request “as soon as practicable.” (See Exhibit G.)

(15) The next day, September 12, 2017, Plaintiff filed its complaint in the instant
action. (See ECF Docket Number 1.)

(16) By letter dated November 30, 2017, attached hereto as Exhibit H, the FBI made a
first and final release of records to Plaintiff. The FBI advised 29 pages of records were reviewed
and 29 pages of records were being released in full or in part. Information was withheld
pursuant to FOIA Exemptions (b)(5). (b)(6). and (b)(7)(C). Plaintiff was also advised DOJ OIP
made the deletions and to appeal those denials, Plaintiff would need to write directly to DOJ
OIP. Finally, the FBI advised Plaintiff that the records were being provided at no charge because
the page total did not incur a fee and thus it was unnecessary to adjudicate Plaintiff's request for
a fee waiver. (See Exhibit H.)

THE SEARCHES FOR RESPONSIVE RECORDS

 

(17) The FBI’s general practice is to search its Central Records System (“CRS”) to
determine if the FBI has records about particular investigative subjects in response to most FOIA
requests. The FBI ordinarily relies on the CRS because it is an extensive system of records
consisting of applicant, investigative, intelligence, personnel, administrative, and general files
compiled and maintained by the FBI in the course of fulfilling its integrated missions and
functions as a law enforcement, counterterrorism, and intelligence agency. In the CRS, FBI
employees record index terms in files that are useful to a particular investigation or that are
deemed potentially useful for future investigative/intelligence retrieval purposes. such as names
of individuals, organizations, companies, publications, activities, or foreign intelligence matters
(or programs); they do not index every individual name or other subject matter in the gencral

indices. To locate information indexed in files in the CRS, RIDS employs an index search
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 10 of 95

indices. To locate information indexed in files in the CRS, RIDS employs an index search
methodology.

(18) An index search of the CRS for investigative records, is reasonably expected to
locate responsive material within the vast CRS since the FBI indexes pertinent information into
the CRS to facilitate retrieval based on operational necessity. For the request at issue in this
case, a search of the CRS would not be reasonably likely to locate responsive records in light of
the purpose, design and organization of the CRS, the manner in which the records of the CRS are
indexed, and the nature of the requested records. The search terms “Clinton” and “Lynch” (and
any variations thercot) are unlikely to be indexed as cither subjects of investigation within the
CRS’s indices and thus a typical index search of the CRS would be unlikely to yield the
specifically requested records.

(19) Since a search of the CRS does not lend itself readily or naturally to a search for
records responsive to Plaintiffs request, RIDS determined it needed to conduct searches outside
of the CRS indices. The Attorney General and FBI Director are presidentially designated as
required use travelers for all of their travel and travel aboard DOJ or other government aircraft.
Thus. RIDS contacted personnel in the FBI’s Security Division, Critical Incident Response
Group (“CIRG”), and Operational Technology Division (“OTD”) seeking records responsive to
Plaintiff's request. The Security Division was selected as it is responsible for the Attorney
General’s Protective Detail. The CIRG and OTD were selected because they are responsible for
any secure communication systems onboard FBI aircraft. These searches resulted in no records
being located.

(20) RIDS did not conduct a search of its unclassified and classified email systems

because Plaintiff's did not provide the names of FBI custodians who may have cither sent emails

10
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 11 of 95

or received emails concerning the meeting between Attorney General Lynch and former
President Bill Clinton on June 27, 2016,

(21) After receiving a consultation request from DOJ OIP on or about May 23, 2017,
however, the FBI examined the records provided by DOJ OIP and used the information
contained therein to conduct a search of its unclassified and classified email systems.
Specifically, on or about September 12, 2017, the FBI searched electronic communications of
FBI custodians identified in the records (some of whose names were redacted) using the
following search terms: “Lynch AND tarmac;” “Clinton AND tarmac;” “Lynch AND Phoenix,”
“Clinton and Phoenix;” and “Tarmac meeting.” The date range was restricted to records created
between June 13, 2016 and August 9, 2016. This search yielded responsive records.
Accordingly, the FBI has determined that beyond those locations that have been searched, there
is no other location or record system likely to contain responsive documents.

JUSTIFICATION FOR NONDISCLOSURE UNDER THE FOIA

A. FBI - Explanation of the Coded Format Used to Describe and Justify Withholdings

(22) All documents responsive to Plaintiff's request and subject to the FOIA were
processed to achieve maximum disclosure consistent with the access provisions of the FOIA.
Every effort was made to provide Plaintiff with all material in the public domain and with all
reasonably segregable non-exempt information in the responsive records. No reasonably
segregable, non-exempt portions have been withheld from Plaintiff. Further description of the
information withheld, beyond what is provided in this declaration, could identify the actual
exempt information that the FBI has protected. Copics of the pages released in part and in full
have been consecutively numbered “FBI - | through FBI - 29” at the bottom of each page. See
Ex. H. The exemptions asserted by the FBI as grounds for non-disclosure of portions of

documents are FOIA exemptions 6 and 7(C), 5 U.S.C. § 552 (b)(6), (b)(7)(C).

1]
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 12 of 95

(23) The Bates-numbered documents contain, on their face, coded categories of
exemptions that detail the nature of the information withheld pursuant to the provisions of the
FOIA. The coded categories are provided to aid the Court’s and Plaintiff's review of the FBI’s
explanation of the FOIA exemptions it asserted to withhold material. The coded, Bates
numbered pages together with this declaration demonstrate that all material withheld by the FBI
is exempt from disclosure pursuant to the cited FOIA exemptions, or is so intertwined with
protected material that segregation is not possible without revealing the underlying protected
material.

(24) Each instance of information withheld on the Bates-numbered documents is
accompanied by a coded designation that corresponds to the categories listed below. For
example, if (b)(7)(C)-1 appears on a document, the “(b)(7)(C)” designation refers to FOIA
Exemption (7)(C) protecting against unwarranted invasions of personal privacy. The numerical

“oy?

designation of following the “(b)(7)(C)” narrows the main category into a more specific
subcategory, such as “Names and/or Identifying Information of FBI Special Agents/Support
Personnel.”

(25) Listed below are the categories used to explain the FOIA exemptions asserted to

withhold the protected material:

12
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 13 of 95

 

SUMMARY OF JUSTIFICATION CATEGORIES

 

CODED INFORMATION WITHHELD
CATEGORIES

 

Exemption (b)(6) and =| CLEARLY UNWARRANTED INVASION OF
Exemption (b)(7)(C) PERSONAL PRIVACY AND UNWARRANTED
INVASION OF PERSONAL PRIVACY

 

(b)(6)-1 and (b)(7)(C)-1 | Names and/or Identifying Information of FBI Special Agents
and Support Personnel

 

(b)(6)-2 and (b)(7)(C)-2 | Names and/or Identifying Information of Third Parties Merely
Mentioned

 

 

 

 

EXEMPTION 7 THRESHOLD

 

(26) Before an agency can invoke any of the harms enumerated in Exemption (b)(7), it
must first demonstrate that the records or information at issue were compiled for law
enforcement purposes. Pursuant to 28 U.S.C. §§ 553, 534 and Executive Order 12333 as
implemented by the Attorney General’s Guidelines for Domestic Operations (“AGG-DOM”) and
28 CFR § 0.85, the FBI is the primary investigative agency of the federal government with
authority and responsibility to investigate all violations of federal law not exclusively assigned to
another agency, to conduct investigations and activities to protect the United States and its
people from terrorism and threats to national security. and further the foreign intelligence
objectives of the United States. Under this investigative authority, portions of the responsive
records herein were compiled for law enforcement purposes; they squarely fall within the law
enforcement duties of the FBI; therefore, the information readily mects the threshold requirement

of Exemption (b)(7).
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 14 of 95

EXEMPTIONS 6 AND 7(C)

(27) Exemption 6 exempts from disclosure “personnel and medical files and similar
files the disclosure of which would constitute a clearly unwarranted invasion of personal
privacy.” 5 U.S.C. § 552(b)(6). All information that applies to a particular person falls within
the scope of Exemption 6.

(28) Exemption 7(C) similarly exempts from disclosure “records or information
compiled for law enforcement purposes [when disclosure] could reasonably be expected to
constitute an unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C).?

(29) When withholding information pursuant to these two exemptions, the FBI is
required to balance the privacy interests of the individuals mentioned in these records against any
public interest in disclosure. In asserting these exemptions, each piece of information was
scrutinized to determine the nature and strength of the privacy interest of every individual whose
name and/or identifying information appears in the documents at issue. When withholding the
information, the individual’s privacy interest was balanced against the public’s interest in
disclosure. For purposes of these exemptions, a public interest exists only when information
about an individual would shed light on the FBI’s performance of its mission to protect and
defend the United States against terrorist and foreign intelligence threats, to uphold and enforce
the criminal laws of the United States, and to provide leadership and criminal justice services to

federal, state, municipal, and international agencies and partners. In each instance where

 

* The practice of the FBI is to assert Exemption 6 in conjunction with Exemption 7(C).
Although the balancing test for Exemption 6 uses.a “would constitute a clearly unwarranted
invasion of personal privacy” standard and the test for Exemption 7(C) uses the lower standard
of “could reasonably be expected to constitute an unwarranted invasion of personal privacy.” the
analysis and balancing required by both exemptions is sufficiently similar to warrant a
consolidated discussion. The privacy interests are balanced against the public’s interest in
disclosure under both exemptions.

14
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 15 of 95

information was withheld pursuant to Exemptions 6 and 7(C), the FBI determined that the
individuals’ privacy interests outweighed any public interest in disclosure.

(b)(6)-1 and (b)(7)(C)-1 Names and/or Identifying Information of FBI Special
Agents and Support Personnel

(30) In Categories (b)(6)-1 and (b)(7)(C)-1, the FBI protected the names, identifying
information, email addresses and, at times, telephone numbers of FBI Special Agents (“SAs”)
and support personnel who were responsible for receiving, reviewing, analyzing, supervising,
and/or conducting the day-to-day operations of the FBI reflected in the responsive documents.
FBI SAs and support personnel, attorneys and paralegals have access to information regarding
official law enforcement investigations, and therefore may become targets of harassing inquires
for unauthorized access to information regarding such investigations if their identitics were
released. Assignments of SAs, support personnel, attorneys and paralegals to any particular
matter or investigation are not by choice. Publicity (adverse or otherwise) regarding a specific
investigation to which they have been assigned may seriously prejudice their effectiveness in
conducting other investigations. The privacy consideration is also to protect FBI SAs. support
personnel, attorneys and paralegals as individuals, from unnecessary, unofficial questioning as to
their assistance rendered in matters such as described in the processed records, or their conduct
in other investigations and/or legal matters, whether or not they are currently employed by the
FBI. For example, an individual targeted by such law enforcement actions may carry a grudge.
Such individuals may seek revenge on the agents, support personnel, attorneys and/or paralegals
involved in a particular investigation or legal matter. Thus, the FBI employees maintain
substantial privacy interests in not having their identities disclosed. In contrast, there is no

public interest to be served by disclosing the identities of the SAs, support personnel, attorneys

15
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 16 of 95

and/or paralegals to the general public because their identities would not significantly increase
the public’s understanding of the FBI’s operations and activities.

(31) Accordingly, the FBI protects the names and identifying information of all lower
ranking personnel in all FBI records, including records compiled for reasons other than law
enforcement, pursuant to FOIA Exemption 6.

(32) First, there is no public interest in the release of this specific information because
release of the names and identifying information of lower ranking FBI personnel does not shed
light on government operations. Second, there are cognizable privacy interests connected to the
release of FBI employee names and identifying information regardless of the specific position
held, e.g., a Special Agent, Intelligence Analyst, or Professional Staff/Support employee. Asa
law enforcement and intelligence agency with myriad missions including counterterrorism.
counterintelligence, and cybercrime, mere employment with the BI — and the access to
classified information that it provides — puts all FBI employees at risk of clearly unwarranted
invasions of privacy.

(33) Additionally, all FBI employees possess Top Secret clearances allowing access to
classified material and systems, including Sentinel, the FBI’s electronic, “next generation” case
management system where sensitive criminal and national security investigative information is
stored. Positive identification as an FBI employee is of genuine interest to criminal elements,
terrorists, and foreign intelligence services. As a result, the FB] routinely protects the names and
identifying information of all lower ranking employees as their status of an FBI employee, on its
own, may subject them to harassment by criminals seeking access to FBI information or
retribution, violent acts of terrorists who advocate bodily harm against U.S. law enforcement and

military personnel in furtherance of ideology, or recruitment by foreign agents intent on

16
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 17 of 95

espionage. As such, FBI support employees have identifiable privacy interests in protection
trom the harms above as well as unnecessary, unofficial questioning as to the conduct of
investigations or the law enforcement activities they support.

(34) Moreover, these identifiable harms are not confined to FBI occupation and do not
turn on whether or not the BI records disclosing the identifying employce information was
compiled for a law enforcement purpose. Adversaries who pose harm to the FBI are not required
to draw distinctions between FBI employees based on occupation or the reason an FBI record
was compiled--the key piece of information is identifying the individual as a member of the
FBI. For instance, a foreign intelligence agent seeking to recruit an FBI employee might pursue
an opportunity to turn a support employee to try to get access to classified information.

(35) Finally, applying the balance of interests, the identifiable B31 employee privacy
interests articulated above outweigh the lack of any public interest in disclosure demonstrating
how government works, thus triggering a clearly unwarranted invasion of privacy with
reasonably foreseeable harm to those privacy interests. Accordingly, the FBI properly withheld
their names and identifying information pursuant to Exemptions 6 and 7(C).?

(b)(6)-2 and (b)(7)(C)-2 Names and/or Identifying Information of Third Parties
Merely Mentioned

(36) In Categories (b)(6)-2 and (b)(7)(C)-2, the FBI protected the names and
identifying information (specifically, email address and/or a cellular telephone number) of third
parties who were merely mentioned in the records responsive to Plaintiff's request. These
individuals were not of investigative interest to the FBI. These third parties maintain substantial

and legitimate privacy interests in not having this information disclosed. Disclosure of the third

 

3 Exemptions (b)(6)-1, (b)(7)(C)-1 or both have been asserted to withhold FBI information on
Bates Numbered pages: FBI-1, 2, 4, 7, 12, 14-23, 25, and 27.

17
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 18 of 95

parties’ names and identifying information in connection with an FBI] matter carries an extremely
negative connotation. Disclosure of their identities might subject these individuals to possible
harassment or criticism and focus derogatory inferences and suspicion on them. The FBI then
considered whether there was any public interest that would override these privacy interests. and
concluded that disclosing information about individuals who were merely mentioned in an FBI
investigative file would not significantly increase the public’s understanding of the operations
and activities of the FBI. Accordingly, the FBI properly protected these individuals’ privacy
interests pursuant to FOIA Exemptions 6 and 7(C)."

B. Justification of Withholdings per DOJ OIP

Exemption (b)(5)

(37) Exemption 5 of the FOIA exempts from mandatory disclosure “inter-agency or
intra-agency memorandums or letters which would not be available by law to a party other than
an agency in litigation with the agency.” 5 U.S.C. § 552(b)(5). As discussed in detail below. the
information protected by OIP pursuant to FOIA Exemption 5 falls squarely within the
deliberative process privilege.”

Exemption 5: Inter-/Intra-Agency Threshold

(38) _ Inter- and intra-agency communications may be withheld from release pursuant to
Exemption 5 of the FOIA. Here, the information withheld from Plaintiff pursuant to this
exemption consists of internal Department communications about responding to media and
rclated inquiries concerning the June 27, 2016 mecting. Specifically, proposed or draft talking

points for potential use in responding to inquiries about the meeting and related topics. All of

 

4 Exemptions (b)(6)-2, (b)(7)(C)-2 or both have been asserted to withhold FBI information on
Bates Numbered pages: FBI-14, 15, and 22.

5 Exemption (b)(5) has been asserted by DOJ OIP to withhold information on Bates Numbered
pages: FBI-2, 3, 23, and 24.

18
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 19 of 95

these records were generated by, exchanged within, and remained wholly internal to the
Department of Justice. As such, they are “inter-/intra-agency” records within the threshold of
FOTA Exemption 5.

Exemption 5: Deliberative Process Privilege

 

(39) The deliberative process privilege is intended to protect the decision-making
processes of government agencies from public scrutiny in order to enhance the quality of agency
decisions. If pre-decisional, deliberative communications are routinely released to the public,
Department employees will be much more cautious in their discussions with each other and in
providing all pertinent information and viewpoints to agency decision-makers in a timely
manner. This lack of candor would seriously impair the Department’s ability to foster the
forthright, internal discussions necessary for efficient and proper decision-making.

(40) The challenged portions of intra-agency e-mails withheld in this case by OIP
consist of strategic discussions regarding Departmental considerations in responding to media
_ and related inquiries concerning the June 27, 2016 meeting. As stated above, the withholdings of
proposed or draft talking points for potential use in responding to inquiries about the meeting and
related topics. All of the information withheld by OIP pursuant to the deliberative process
privilege is pre-decisional inasmuch as it was drafted before and in preparation for
communications with the press and public.

(41) The portions of e-mail discussions regarding press coverage withheld by OIP are
deliberative, pre-decisional Department communications. These e-mails evaluate and analyze
press coverage and make recommendations and/or consider possible options in responding to
press and other inquiries. As part of the exchange of ideas and suggestions that accompanies all

agency decision-making, these e-mails reflect preliminary assessments in which various agency

19
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 20 of 95

stakeholders strategize, opine, advise, and discuss working matters under their purview. Such c-
mails most resemble conversations among staff members which are part of the give and take of
agency deliberations. Disclosure of preliminary assessments, recommendations, and opinions
like those withheld in this case would make individuals feel they could not candidly present their
ideas and advice on Department activities or make suggestions on how to respond to press
inquiries, which would in turn severely hamper the efficient daily workings of the Department
and, in particular, the Department’s ability to engage effectively and accurately with the press.
Agency decision-making is at its best when employees are able to focus on the substance of their
"views and not on how those views would appear if they were later made public.

(42) The draft or proposed talking points, as well as the e-mails concerning them, are
also deliberative and pre-decisional. Drafting and preparing talking points and statements for
possible use by Department personnel is a critical aspect of the decision-making process. In this
case, none of the withheld materials were released in final format by the Department.

(43) Talking points prepare Department officials to address various questions that may
arise during the course of anticipated meetings, official travel, public interactions, and
engagement with the press. The drafters of these talking points also attempted to succinctly
summarize particular events, identify important issues, and provide key background information
in a concise summary format for ease of understanding and presentation. Throughout this
process, the authors necessarily review the universe of facts and possible issues arising on the
topic at hand and then select those facts and issues that they deem most appropriate for briefing
agency decision-makers. Authors attempt to anticipate questions that senior leadership,
including the Attorney General, may encounter in an effort to ensure that they are prepared to

respond to questions and offer varving options for how to respond to different inquiries. The

20
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 21 of 95

decision to include or exclude certain factual information in or from analytical material is itself
an important part of the deliberative process.

(44) Talking points, such as those withheld by OIP here, reflect the drafters’ opinions
and analyses on specific topics and focus on how best to convey and respond to questions on
these topics from the Department’s perspective. Revealing such opinions and analyses would
hinder Department staff’s ability to provide candid evaluations, as well as prepare Department
leadership to prepare for press events and to provide informed and accurate responses to
potential questions they receive. Moreover, because the selection of facts and source material is
itself a part of the deliberative process inherent to preparation of talking points, these documents
are protected in full pursuant to FOIA Exemption 5.

Exemption (b)(6)

(45) When determining whether to withhold information pursuant to Exemption 6. OIP
balances the privacy interests of individuals identified in the records against any “FOIA public
interest” in disclosure of that information. In making this analysis, the FOIA public interest
considered is limited to information which would shed light on the Department’s performance of
its mission: to enforce the law and defend the interests of the United States according to the law:
to ensure public safety against threats foreign and domestic; to provide federal leadership in
preventing and controlling crime; to seek just punishment for those guilty of unlawful behavior:
and to ensure fair and impartial administration of justice of all Americans.

(46) Plaintiff has challenged OIP’s withholding, pursuant to Exemption 6, of the
cellular telephone numbers of government employees and of an email address of a third party.
OTP found. in light of the Department’s mission, that there was no FOIA public interest served

by the release of such information and that there were individuals who had privacy interests that
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 22 of 95

would be impaired by the release of such information. The release of the cellular telephone
numbers of DOJ employees would also not aid the public’s understanding of how the
Department carries out its duties. In the absence of any public interest to weigh against the
privacy interest served by protecting this information from the release under Exemption 6, OIP
withheld cellular telephone numbers of government officials pursuant to Exemption 6.°

Personal Contact Information

(47) In each instance where information was withheld from Plaintiff pursuant to
Exemption 6, OIP determined that the individual’s privacy interests were not outweighed by any
FOIA public interest in disclosure of that information. Given the personal nature of an
individual’s mobile device, which by its very nature is routinely carried on one’s person when he
or she is physically out of the office, at home, and/or on personal time, there is a greater potential
for invasion of privacy in the disclosure of such cellphone numbers than there is in an
individual’s office telephone number. The release of such information could subject those
emplovees to unwarranted harassment in their personal time and personal lives. and as such the
release of such information would “constitute a clearly unwarranted invasion of personal
privacy,” 5 U.S.C. § 552(b)(6). Cellular telephone numbers that appeared in Bates numbered
pages FBI-3, 12, 13, and 24, were withheld from release by OIP pursuant to Exemption 6.

(48) Additionally, OIP withheld from Plaintiff, an email address of a third party that
appeared in Bates numbered page I'BI-13 based on the same reasoning as set forth by the FBI in

{ 36, supra.’

 

6 Exemption (b)(6) has been asserted by DOJ OIP to withhold cellular telephone numbers on
Bates Numbered page: FBI-3, 12, 13 and 24.

7 Exemption (b)(6) has been asserted by DOJ OIP to withhold a third party email address on
Bates Numbered page: FBI-13.

22
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 23 of 95

CONSULT AND/OR REFERRAL
(49) While processing records responsive to Plaintiff's request, the FBI identified
information which either originated with or contained another government agency’s information
and/or equities. Pursuant to established DOJ procedures, the FBI consulted with this agency,

DOJ OIP, and asked it to make disclosure determinations concerning its information.

(50) The FBI identified three documents (Bates-numbered “FBI-2 through FBI-3,”
“FBI-12 through FBI-13,” and “FBI-23 through FBI-24”) which either originated with or
contained OIP’s information and/or equities. Following consultations between OIP and FBI, it
was determined that certain information contained in these documents was exempt from
disclosure pursuant to Exemptions (b)(5) and (b)(6). The FBI protected this information for the
reasons discussed in {f§ 36-48, supra.

SEGREGABILITY

(51) Plaintiff has been provided all responsive non-exempt records or portions of
records responsive to its FOIA request to the FBI. During the processing of Plaintiff's request.
each responsive page was individually examined to identify non-exempt information that could
be reasonably segregated from exempt information for release. All segregable information has
been released to Plaintiff. As demonstrated herein, the only information withheld by the FBI
consists of information that would trigger reasonably foreseeable harm to one or more interests
protected by the cited FOIA exemptions.

(52) As previously mentioned supra in paragraph 4, twenty-nine responsive pages
were identified: nine pages were Released in Full (“RIF”) and twenty pages were Released in

Part (“RIP”). Each of these categories is discussed below to further address segregability.

23
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 24 of 95

(a) Pages RIF. Following the segregability review, RIDS determined nine
pages could be released in full without redaction as there was no foreseeable harm to an interest
protected by a FOIA exemption.

(b) Pages RIP. RIDS further determined, in some instances after consultation
with other agencies, that twenty pages could be released in part with certain redactions, as
discussed above. These pages consist of a mixture of information that could be segregated for
release and information that was withheld because its release would trigger foreseeable harm to
one or more interests protected by the cited FOIA exemptions on those pages.

CONCLUSION

(53) The FBI performed an adequate and reasonable search for records responsive to
Plaintiff's FOIA request in the places reasonably likely to have responsive records. The FBI has
processed (at times, with the assistance of other agencies) responsive records under the access
provisions of the FOIA to provide maximum disclosure; and has released all reasonably
segregable non-exemption information to Plaintiff. The FBI properly exempted information
pursuant to FOIA Exemptions 6 and 7(C), 5 U.S.C. § 552 (b)(6), (b)(7)(C). The FBI carefully
examined the responsive documents and determined that the information withheld from Plainuff,
if disclosed, would cause a clearly unwarranted invasion of personal privacy and could
reasonably be expected to constitute an unwarranted invasion of personal privacy. Accordingly,
the FBI has released all reasonably segregable. non-exempt information to Plaintiff in response

to its FOIA request to the FBI.

24
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 25 of 95

Pursuant to 28 U.S.C, § 1746, I declare under penalty of perjury that the foregoing ts true
and correct, and that Exhipits A - H attached hereto are true and correct copies.

Executed this Pim of February, 2018.

OSG

DAVID M. HARDY
Section Chief
Record/Information Dissemination Section
Records Management Division

Federal Bureau of Investigation
Winchester, Virginia

  

25
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 26 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN CENTER FOR LAW
AND JUSTICE

Plaintiff,
Civ. A. No. 1:17-cv-01866

Vv.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

Ne Nee Nee Ne ee ee ee ee eee ee ee”

 

EXHIBIT A
*
aX" #y

ACLJ

American Center
for Law & Justice

Jay Alan Sekulow, ].D., Pb.D.
Chief Counsel

July 15, 2016

David M. Hardy, Chief
Record/Information Dissemination Section
Records Management Division

Federal Bureau of Investigation
Department of Justice

170 Marcel Drive

Winchester, VA 22602-4843

Phone: (540) 868-4500

Fax: (540) 868-4997

RE: FOIA Request to U.S. Department of Justice and Federal Bureau of Investigation
Regarding Attorney General Loretta Lynch’s June 27, 2016, Meeting With Bill
Clinton

Dear Mr. Hardy:

This letter is a request (“Request”) in accordance with the Freedom of Information Act
(“FOIA”), 5 U.S.C. § 552, and the corresponding department/agency implementing regulations.

The Request is made by the American Center for Law and Justice (“ACLJ”)' on behalf of itself
and over 80,000 of its members. The ACLJ respectfully seeks expedited processing and a waiver
of fees related to this Request as set forth in an accompanying memorandum.

To summarize, this Request seeks any and all records pertaining to Attorney General Loretta
Lynch’s meeting with former President Bill Clinton on June 27, 2016, which occurred on her
airplane at the Sky Harbor International Airport in Phoenix, Arizona.

Background

Pursuant to DOJ FOIA regulation 28 C.F.R. §16.3(b), this Background addresses “the date, title
or name, author, recipient, subject matter of the record[s]” requested, to the extent known.

 

*

201 Maryland Avenue, N.E.
Washington, DC 20002
202-546-8890
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 28 of 95

As is being covered extensively by the press, Attorney General Loretta Lynch and former
President Bill Clinton met on General Lynch’s private airplane on Monday, June 27, 2016, on
the tarmac at Sky Harbor International Airport in Phoenix, Arizona.

According to CNN’s report, “Lynch and Bill Clinton met privately in Phoenix Monday afier the
two realized they were on the same tarmac, an aide to the former president said. 7 But according
to other reports, “Clinton was reportedly notified that Lynch would be landing in Phoenix soon
and waited in order to meet her.” Reportedly, “[t]he former president then walked over to the
attorney general’s plane to speak to Ms. Lynch and her husband. As reported by The Hill, “fal
law enforcement official familiar with the matter told CNN that Lynch’s FBI security detail did
not stop Clinton when he moved to initiate the extended conversation.”> “The entire meeting
lasted about 30 minutes.”° CNN quoted General Lynch as describing the conversation as
“primarily social.”’ .

This matter is of grave importance to the public. General Lynch is the head of the Department of
Justice — and the nation’s chief law enforcement officer. As recognized by a United States
District Judge*® and the White House’, the DOJ was, at the time of the meeting at issue, engaged
in a “criminal investigation” of Hillary Clinton, Bill Clinton’s wife, former Secretary of State
and now leading Democratic presidential candidate, with respect to her use and deletion of
emails. At the time of the meeting, the DOJ itself had described the investigation as a “law
enforcement matter.”’°

 

"Eli Watkins, Bill Clinton Meeting Causes Headaches for Hillary, CNN.COM (Jun. 20, 2016, 9:26 PM),
http://www.cnn.com/2016/06/29/politics/bill-cli nton-loretta-lynch/.

3Alex Griswold, Loretta Lynch Privately Meets with Bill Clinton Aboard Personal Plane, MEDIAITE.COM (Jun. 29,
2016, 1:22 PM), http://www.mediaite.convtv/loretta-lynch-privately-meets-with-bill-clinton-aboard-personal-plane/.
“Attorney General Lynch has Private Meeting with Bill Clinton, FOXNEWS.COM (Jun. 29, 2016),

http://www. foxnews.com/politics/20 | 6/06/29/attorney-general-lynch-meets-with-bill-clinton-privately. html,
*Jesse Byrnes, Lynch Meeting with Bill Clinton Creates Firestorm for Email Case, THEHILL.COM (Jun, 30, 2016,
1:56 PM), http:/thehill.com/policy/ational-security/286 1 43-lynch-clinton-meeting-creates-firestorm.

®Griswold, supra note 3; Geoff Earle, Loretta Lynch Held Private Talks with Bill Clinton Aboard a Plane in
Phoenix while Her Department Investigates Hillary, DAILYMAIL.CO.UK (Jun, 29, 2016, 6:03 PM),
hitp://www.dailymail.co.uk/news/article-3666856/Loretta-Lynch-held-private-talks-Bill-Clinton-aboard-plane-
Phoenix-department-investigates-Hillary.html.

"Watkins, supra note 2(emphasis added).

*Josh Gerstein, Judge Links Clinton Aide's Immunity to ‘Criminal Investigation’, POLITICO.COM (Jun. 14, 2016,
11:46 AM), http://www. politico.com/story/20 | 6/06/illary-clinton-judge-investigation-2243 14; Stephen Dinan,
Judge Confirms ‘Criminal Investigation’ into Clinton Emails, WASHINGTONTIMES.COM (Jun. 14, 2016),
http://www. washingtontimes.com/news/2016/jun/ 14/judge-confirms-criminal-probe-clinton-emails/.

°White House Confirms ‘Criminal’ Probe over Clinton Emails, ‘Shreds’ Campaign Claim, FOXNEWS.COM (Jun. 10,
2016), http://www.foxnews.com/politics/20 1 6/06/ 10/white-house-confirms-criminal-probe-over-clinton-emails-
shreds-campaign-claim.html.

"DOJ Acknowledges Hillary Email Investigation is a ‘Law Enforcement Matter’, INSIDER.FOXNEWS.COM ( May 2,
2016), http://insider. foxnews.com/2016/05/02/) udge-napolitano-new-developments-hillary-clinton-email-
investigation-justice-department.
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 29 of 95

According to Sen. Chris Coons (D-Del.), “it doesn’t send the right signal.”'! Indeed, both the
meeting and the “personal or political relationship,” 5 C.F.R. § 45.2, evidenced by the meeting
and affirmed by General Lynch in her comments after the meeting implicate Federal Regulations
and DOJ Standards of Conduct.'?

Less than a week after the meeting occurred on General Lynch’s airplane, it was reported that the
FBI interviewed Hillary Clinton on Saturday, July 2, 2016, over the July 4" weekend. Then, on
Tuesday, July 5, 2016, FBI Director James Comey announced the FBI was not recommending
that Hillary Clinton be prosecuted “for her handling of classified documents and sensitive
information, which she conducted on a private email server during her time as secretary of
state.”'* On July 6, 2016, General Lynch announced: “I received and accepted their unanimous
recommendation that the thorough, year-long investigation be closed and that no charges be
brought against any individuals within the scope of the investigation.”'® Thus, the criminal
investigation is over.

Records Requested

For purposes of this Request, the term “record” is “any information” that qualifies under 5
U.S.C. § 552(f), and includes, but is not limited to, the original or any full, complete and
unedited copy of any log, chart, list, memorandum, note, correspondence, writing of any kind,
policy, procedure, guideline, agenda, handout, report, transcript, set of minutes or notes, video,
photo, audio recordings, or other material. The term “record” also includes, but is not limited to,
all relevant information created, stored, received or delivered in any electronic or digital format,
¢.g., electronic mail, instant messaging or Facebook Messenger, iMessage, text messages or any
other means of communication, and any information generated, sent, received, reviewed, stored
or located on a government or private account or server, consistent with the holdings of
Competitive Enterprise Institute v. Office of Science and Technology Policy, No. 15-5128 (D.C.
Cir. July 5, 2016)'° (rejecting agency argument that emails on private email account were not
under agency control, and holding, “If a department head can deprive the citizens of their right to
know what his department is up to by the simple expedient of maintaining his departmental
emails on an account in another domain, that purpose is hardly served.”).

 

"Byres, supra note 5.

'? Moreover, the press has highlighted the fact that “[t]he encounter took place ahead of the public release Tuesday
morning of the House Benghazi Committee’s report on the 2012 attack ona U.S. consulate in Libya.” Watkins,
supra note 2, According to one source, the “meeting” “occurred just hours before” the Benghazi Committee’s
report’s release, Earle, supra note 6.

"Byron Tau, Hillary Clinton Interviewed by FBI in Email Probe, WS).COM (Jul. 2, 2016, 7:39 PM),

http://www. wsj convarticles/hillary-clinton-interviewed-by-fbi- 1467478221,

'SGregory Krieg, FB/ Boss Comey's 7 Most Damning Lines on Clinton, CNN.COM (Jul. 5, 2016, 6:05 PM),
http://www.cnn.com/201 6/07/05/politics/foi-clinton-email-server-comey-damning-lines/.

Eric Bradner, AG Loretta Lynch Declines to Press Charges Against Clinton, CNN.COM (Jul. 6, 2016, 8:13 PM),
http://www,cnn.com/2016/07/06/politics/I oretta-lynch-hillary-clinton-emails-no-charges/.
'Shttps://www.cadc.uscourts. gov/internet/opinions.nsf/75450CA390CB52C985257FE7005038BD/Sfile/1 5-5 128-
1622973 pdf.

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 30 of 95

For purposes of this Request, the term “briefing” includes, but is not limited to, any in-person
meeting, teleconference, electronic communication, or other means of gathering or
communicating by which information was conveyed to one or more person.

For purposes of this Request, the term “DOJ official” includes, but is not limited to, any person
who is (1) employed by or on behalf of the U.S. Department of Justice or Federal Bureau of
Investigation in any capacity; (2) contracted for services by or on behalf of the U.S. Department
of Justice or Federal Bureau of Investigation in any capacity; or (3) appointed by the President of
the United States to serve in any capacity at the U.S. Department of Justice or Federal Bureau of
Investigation, all without regard to the component or office in which that person serves.

For purposes of this Request, and unless otherwise indicated, the timeframe of records requested
herein is June 13, 2016, to the date this Request is processed.

Pursuant to FOIA, 5 U.S.C. § 552 et seq., ACLJ hereby requests that the U.S. Department of
Justice produce the following within twenty (20) business days:

Records Regarding Names of DOJ Officials Involved in Meeting-Related Discussions or
Decisions

1. Any and all records containing the names of any DOJ official, staff or employee who
participated in any discussion regarding the meeting between General Lynch and Bill Clinton
that occurred on Monday, June 27, 2016, at Sky Harbor International Airport in Phoenix,
Arizona.

2. Any and all records containing the names of any DOJ official, staff or employee who
participated in any decision on or determination of whether clearance, authorization or
permission should be granted or in fact would be granted to Bill Clinton to board General
Lynch’s airplane on Monday, June 27, 2016, at Sky Harbor International Airport in Phoenix,
Arizona.

3. Any and all records containing the names of any person present in the passenger

compartment of General Lynch’s airplane during the meeting between General Lynch and Bill

Clinton that occurred on Monday, June 27, 2016, at Sky Harbor International Airport in Phoenix,
_ Arizona.

Records Regarding Meeting-Related Discussions or Decision

4, Any and all records, communications or briefings prepared, sent, received or reviewed by
General Lynch or any other DOJ official, staff or employee, before the meeting between General
Lynch and Bill Clinton that occurred on Monday, June 27, 2016, at Sky Harbor International
Airport in Phoenix, Arizona, containing any discussion of or in any way regarding the meeting.
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 31 of 95

5. Any and all records, communications or briefings prepared, sent, received or reviewed by
General Lynch or any other DOJ official, staff or employee, af any time, containing any
discussion of or in any way regarding the meeting between General Lynch and Bill Clinton that
occurred on Monday, June 27, 2016, at Sky Harbor International Airport in Phoenix, Arizona.

6. Any and all records prepared, sent, received or reviewed by General Lynch or any other
DOJ official, staff or employee, at any time, containing any discussion of or in any way
regarding the decision to grant clearance, authorization or permission to Bill Clinton to board
General Lynch’s airplane on Monday, June 27, 2016, at Sky Harbor International Airport in
Phoenix, Arizona.

Records Regarding Communications Received From Bill Clinton or Regarding His Presence

7. Any and all records of any communication or briefing received by General Lynch, any
DOJ official, staff or employee from Bill Clinton or his staff regarding the meeting between
General Lynch and Bill Clinton that occurred on Monday, June 27, 2016, at Sky Harbor
International Airport in Phoenix, Arizona, regardless of whether the communication or briefing
was received before, during, or after the meeting.

8. Any and all records of any communication or briefings by which General Lynch was
advised that Bill Clinton was present at the Sky Harbor International Airport in Phoenix,
Arizona, on Monday, June 27, 2016.

Records Regarding Any Discussion of Bill Clinton

9. Any and all records of any communication or briefing prepared, sent, received or
reviewed by General Lynch, her staff, or any other DOJ official or employee or any other person
from June 13, 2016 to Sunday, June 26, 20/6, containing any discussion of or in any way
naming, regarding, involving or referencing Bill Clinton.

10. Any and all records of any communication or briefing prepared, sent, received or
reviewed by General Lynch, her staff, or any other DOJ official or employee on Monday, June
27, 2016, containing any discussion of or in any way naming, regarding, involving or referencing
Bill Clinton, regardless of whether the communication or briefing was prepared or sent before,
during or after the meeting between General Lynch and Bill Clinton.

11. Any and all records of any communication or briefing prepared, sent, received or
reviewed by General Lynch, her staff, or any other DOJ official or employee on Tuesday, June
28, 2016, or after, containing any discussion of or in any way naming, regarding, involving or
referencing Bill Clinton.
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 32 of 95

Records Regarding Discussion of Ethics Rules or Professional Codes of Conduct Governing
Attorneys

12. Any and all records of any communication or briefing prepared, sent, received or
reviewed by General Lynch, her staff, or any other DOJ official or employee before the meeting
on Monday, June 27, 2016, between General Lynch and Bill Clinton at Sky Harbor International
Airport in Phoenix, Arizona, containing any discussion of ethics rules or DOJ Standards of
Conduct governing attorneys in connection with the meeting or Lynch’s relationship with Bill
Clinton.

13. Any and all records of any communication or briefing prepared, sent, received or
reviewed by General Lynch, her staff, or any other DOJ official or employee after the meeting
on Monday, June 27, 2016, between General Lynch and Bill Clinton at Sky Harbor International
Airport in Phoenix, Arizona, containing any discussion of ethics rules or DOJ Standards of
Conduct governing attorneys in connection with the meeting or Lynch’s relationship with Bill
Clinton.

14. Any and all records, communications or briefings prepared, sent, received or reviewed by
General Lynch, her staff, any DOJ official or employee, regarding or containing any discussion
of the contents or requirements of 5 C.F.R. § 45.2 in connection with the meeting or Lynch’s
relationship with Bill Clinton..

Records Regarding Discussion of or Decisions on Response to Press

15. Any and all records of any communication or briefing prepared, sent, received or
reviewed by General Lynch, her staff, or any other DOJ official or employee afer the meeting
on Monday, June 27, 2016, between General Lynch and Bill Clinton at Sky Harbor International
Airport in Phoenix, Arizona, containing any discussion of the press, responding to the press, or
the content of any press release or public statements in connection with the meeting.

16. Any and all records of any communication or briefing prepared, sent, received or
reviewed by General Lynch, her staff, or any other DOJ official or employee affer the meeting
on Monday, June 27, 2016, between General Lynch and Bill Clinton at Sky Harbor International
Airport in Phoenix, Arizona, containing any decision regarding the press, responding to the
press, or the content of any press release or public statements in connection with the meeting.

CONCLUSION

As you are undoubtedly aware, President Obama’s Freedom of Information Act Memorandum of
January 21, 2009, declares:

A democracy requires accountability, and accountability requires transparency.
As Justice Louis Brandeis wrote, “sunlight is said to be the best of disinfectants.”
In our democracy, the Freedom of Information Act (FOIA), which encourages
accountability through transparency, is the most prominent expression of a
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 33 of 95

profound national commitment to ensuring an open Government. At the heart of
that commitment is the idea that accountability is in the interest of the
Government and the citizenry alike.

The Freedom of Information Act should be administered with a clear
presumption: In the face of doubt, openness prevails. The Government should not
keep information confidential merely because public officials might be
embarrassed by disclosure, because errors and failures might be revealed, or
because of speculative or abstract fears. Nondisclosure should never be based on
an effort to protect the personal interests of Government officials at the expense
of those they are supposed to serve. In responding to requests under the FOIA,
executive branch agencies (agencies) should act promptly and in a spirit of
cooperation, recognizing that such agencies are servants of the public.

All agencies should adopt a presumption in favor of disclosure, in order to renew
their commitment to the principles embodied in FOIA, and to usher in a new era
of open Government. The presumption of disclosure should be applied to all
decisions involving FOIA.!”

As such, if this Request is denied in whole or in part, ACLJ requests that, within the time
requirements imposed by FOIA, you Support all denials by reference to specific FOIA
exemptions and provide any judicially required explanatory information, including but not
limited to, a Vaughn Index.

Moreover, as explained in an accompanying memorandum, the ACLJ is entitled to expedited
processing of this Request as well as a waiver of all fees associated with it. ACL] reserves the
right to appeal a decision to withhold any information sought by this request and/or to deny the
separate application for expedited processing and waiver of fees.

Thank you for your prompt consideration of this Request. Please furnish all applicable records
and direct any responses to:

Jay Alan Sekulow, Chief Counsel sekulow@aclj.org
Colby M. May, Senior Counsel cemmay@aclj-dc.org

Craig L. Parshall, Special Counsel

Benjamin P. Sisney, Senior Litigation Counsel
American Center for Law and Justice

201 Maryland Ave., NE

Washington, D.C. 20002-5703

(202) 546-8890

(202) 546-9309 (fax)

 

"PRESIDENT BARACK OBAMA, MEMORANDUM FOR THE HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES RE:
FREEDOM OF INFORMATION ACT (Jan. 21, 2009), available at
https://www.whitehouse.gov/the _press_office/FreedomofinformationAct.

5

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 34 of 95

| affirm that the foregoing request and attached documentation are true and correct to the best of
my knowledge and belief.

Respectfully submitted,

Adon SekideuS™~

Jay Alan Sekulow
Chief Counsel

olbf#/M. May
Senior Counsel

cc: | FOIA/PA Mail Referral Unit, Department of Justice
Director of Public Affairs, Office of Public Affairs, Department of Justice
Case 1:17-cv-01866-APM a= |

ake
*
* *,

a=
ACLJ

American Center

for Law & Justice
July 15, 2016 *

David M. Hardy, Chief
Record/Information Dissemination Section
Records Management Division

Federal Bureau of Investigation
Department of Justice

170 Marcel Drive

Winchester, VA 22602-4843

Phone: (540) 868-4500

Fax: (540) 868-4997

RE: FOIA Request to U.S. Department of Justice and Federal Bureau of Investigation
Regarding Attorney General Loretta Lynch’s June 27, 2016, Meeting With Bill

Clinton

MEMORANDUM IN SUPPORT OF REQUESTED FEE WAIVER AND EXPEDITED PROCESSING

 

The American Center for Law and Justice (““ACLJ”) respectfully submits this Memorandum for
fee waiver and expedited processing in support of its Freedom of Information Act Request
(“FOIA”) request to the U.S. Department of Justice (“DOJ”) and Federal Bureau of Investigation
(“FBI”).

I. FEE WAIVER REQUEST

The ACLJ is a not-for-profit 501(c)(3) organization dedicated to the defense of constitutional
liberties secured by law. The ACLJ’s mission is to educate, promulgate, conciliate, and where
necessary, litigate, to ensure that those rights are protected under the law. The ACLJ regularly
monitors governmental activity with respect to governmental accountability. The ACLJ and its
globally affiliated organizations are committed to ensuring the ongoing viability of freedom and
liberty in the United States and around the world. By focusing on U.S. constitutional law,
European Union law, and human rights law, the ACLI and its affiliated organizations are
dedicated to the concept that freedom and liberty are universal, God-given, and inalienable rights
that must be protected. Additionally, the ACLJ and its affiliated organizations also support
training law students from around the world in order to protect religious liberty and safeguard
human rights and dignity.

The ACLI requests a fee waiver under 5 U.S.C. § §52(a)(4)(A)(iii). Under this section, fees may
be waived or reduced if the requester falls within a category established under § (a)(4)(A)(i1),
which includes a “representative of the news media,” § (a)(4)(A)Gi)(I), and if “disclosure of the
information is in the public interest because it is likely to contribute significantly to public
understanding of the operations or activities of the government and is not primarily in the

*

201 Maryland Avenue, N.E.
Washington, DC 20002

202-546-8890 ‘SUL 25 Df t6

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 36 of 95

commercial interest of the requester,” § (a)(4)(A)(iii). The ACLJ qualifies for a fee waiver as a
“representative of the news media,” id. § (a)(4)(A)(i)(ID, and because the information sought is
“not for a commercial purpose,” § (a)(4)(A){iii). Moreover, the ACLJ intends to widely
disseminate the information obtained to the public because as explained in detail infra, “it is
likely to contribute significantly to the public understanding of the operations or activities of the
government,” § (a)(4)(A)(iii), agency and actors mentioned in the FOIA request.

A. The ACLJ Qualifies as a News Media Representative:

The ACLJ qualifies as a “representative of the news media,” as defined under 5 U.S.C. §
552(a)(4)(A)(ii), because the ACLJ, for the purposes explained above, “gathers information of
potential interest to a segment of the public, uses its editorial skills to turn the raw materials into
a distinct work, and distributes that work to an audience.” § 552(a)(4)(A)(ii). The ACLJ’s
audience is generally comprised of those interested in our mission and legal activities as
described above. The ACLJ reaches a vast audience through a variety of media outlets,
including the Internet (World Wide Web page, www.aclj.org), radio, television, press releases,
and direct mailings to our supporters.

For example, the ACLJ’s Internet site received an average of 822,000 unique visitors per month
in 2015, with 22,000,000 page views. Our current email list holds 1,050,000 active names
(actual list size is 2,340,690). In 2015, the ACLJ sent 278,000,000 emails.

The ACLJ’s radio audience consists of more than 1,150,000 estimated daily listeners on 873
radio stations nationwide, including SiriusXM satellite radio. Additionally, the ACLJ hosts a
weekly television program, Sekulow, broadcast on eight networks: Cornerstone Television,
Daystar Television Network, AngelOne, KAZQ, TBN, VIN, The Walk TV, and
HisChannel. See http://aclj.org/radio-tv/schedule (listing schedule).

The ACLJ also disseminates news and information to over 1,000,000 addresses on its mailing
lists. In 2015, the ACLJ sent 15,000,000 pieces of mail.

Moreover, our Chief Counsel, Jay Sekulow, has regularly appeared on various news and talk
show programs to discuss the issues and events important to the ACLJ and its audiences. These
include shows on FOX News, MSNBC, CNN, ABC, CBS, and NBC. In addition to television
programs, Jay Sekulow has also appeared on national radio broadcasts. Beyond broadcast
outlets, Jay Sekulow’s comments appear regularly in the nation’s top newspapers, in print and
online editions, including but not limited to the Wall Street Journal, New York Times,
Washington Times, Washington Post, L.A. Times, and USA Today. His comments also appear
in major national newswire services that include, but are not limited to, Associated Press,
Reuters, and Bloomberg.

B. The ACLJ’s FOIA Request Meets Fee Waiver Standards Set Forth Under
DOJ Regulations Promulgated Under FOTA:

Under 28 C.F.R. § 16.10(c)(1)(), “[r]equests made by educational institutions,
noncommercial scientific institutions, or representatives of the news media are not subject to

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 37 of 95

search fees.” § 16.10(c)(1)(i). And, “[nJo search fees will be charged for requests by
educational institutions (unless the records are sought for a commercial use),
noncommercial scientific institutions, or representatives of the news media.” § 16.10(d).
Moreover:

Records responsive to a request shall be furnished without charge or at a
reduced rate below the rate established under paragraph (c) of this section,
where a component determines, based on all available information, that the
requester has demonstrated that:

(i) Disclosure of the requested information is in the public interest because it
is likely to contribute significantly to public understanding of the operations
or activities of the government, and

(ii) Disclosure of the information is not primarily in the commercial interest
of the requester.

§ 16.10(k)(1).

The DOJ, in making its determination, considers the following four factors regarding
“whether disclosure of the requested information is in the public interest because it is likely
to contribute significantly to public understanding of operations or activities of the
government”:

(i) The subject of the request must concern identifiable operations or activities
of the Federal Government, with a connection that is direct and clear, not
remote or attenuated.

(ii) Disclosure of the requested records must be meaningfully informative
about government operations or activities in order to be “likely to contribute”
to an increased public understanding of those operations or activities. The
disclosure of information that already is in the public domain, in either the
same or a substantially identical form, would not contribute to such
understanding where nothing new would be added to the - public’s
understanding.

(iii) The disclosure must contribute to the understanding of a reasonably broad
audience of persons interested in the subject, as opposed to the individual
understanding of the requester. A requester’s expertise in the subject area as
well as the requester’s ability and intention to effectively convey information
to the public shall be considered. It shall be presumed that a representative of
the news media will satisfy this consideration.

(iv) The public’s understanding of the subject in question must be enhanced
by the disclosure to a significant extent. However, components shall not make

3

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 38 of 95

value judgments about whether the information at issue is “important” enough
to be made public.

§ 16.10(k)(2)(i)-(iv).

Under section 16.10(k)(3), the DOJ, in making its determination, considers the following two
factors regarding “whether disclosure of the requested information is primarily in the
commercial interest of the requester”:

(i) The existence and magnitude of a commercial interest, i.e., whether the
requester has a commercial interest that would be furthered by the requested
disclosure; and, if so,

(ii) The primary interest in disclosure, i.e., whether the magnitude of the
identified commercial interest of the requester is sufficiently large, in
comparison with the public interest in disclosure, that disclosure is primarily
in the commercial interest of the requester.

§ 16.10(k)(3). As the U.S. Court of Appeals for the D.C. Circuit has noted, “Congress
amended FOIA to ensure that it is ‘liberally construed in favor of waivers for noncommercial
requesters.”” Judicial Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (citing
McClellan Ecological Seepage Situation v. Carlucci, 835 F.2d 1282, 1284 (9th Cir. 1987)
(quoting 132 CONG. REc. 27, 190 (1986) (Sen. Leahy))).

The ACLJ’s FOIA request meets the DOJ’s factors as listed above, qualifying the ACLJ for a
waiver of fees, as set forth below.

§ 16.10(k)(2)(i): The subject of the request concerns identifiable
operations or activities of the Federal Government.

The ACLJ has requested information and records specifically concerning DOJ and FBI actions
surrounding the Attorney Genera! Loretta Lynch’s meeting with former President Bill Clinton on
June 27, 2016, which occurred on her airplane at the Sky Harbor International Airport in
Phoenix, Arizona, and all participation in such DOJ/FBI briefings, meetings and communications
by the DOJ/FBI and any of its personnel, and all other DOJ/FBI actions related to this meeting,
is relevant to shed light on identifiable activities of the government.

§ 16.10(k)(2)(ii): Disclosure of the requested records will be meaningfully
informative about government operations or activities and will be “likely
to contribute” to an increased public understanding of those operations
or activities.

The ACLJ’s request will contribute and provide meaningful understanding of United States
Government operations or activities within the DOJ and FBI. With respect to the request for
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 39 of 95

records surrounding the meeting between the head of the DOJ and the husband of a person who,
at the time, was under criminal investigation by the DOJ and FBI, and where such meeting
occurred approximately within a week of the FBI’s interview of the person under investigation
and the DOJ’s decision not to press charges, these records have not currently been released to the
public and will most certainly inform and increase public knowledge (1) about who knew or was
involved in the meeting; (2) who was involved in allowing the meeting to take place; (3) what
was discussed in connection the meeting and decisions surrounding the meeting; (4) why the
meeting was allowed to take place; and (5) who, outside the DOJ/FBI, communicated with
DOJ/FBI officials before, during or after the meeting. The request will also reveal what
involvement, if any, any other agency or governmental officials had with the meeting.

§ 16.10(k)(2)(iii): The disclosure will contribute to the understanding of a
reasonably broad audience of persons interested in the subject, as opposed to
the individual understanding of the requester. The requester has expertise in
the subject area as well as the ability and intention to effectively convey
information to the public. It shall be presumed that a representative of the
news media will satisfy this consideration.

Releasing the requested information to the ACLJ will contribute “significantly” to the public’s
understanding of United States Government operations and activities. The ACLJ has researched
and litigated to uphold governmental transparency and accountability. The ACLJ is qualified to
analyze and assess whether official statements to the press, the actions those statements identify,
and the actions actually taken and decisions actually made in connection with the meeting and in
the meeting’s aftermath, violate pertinent law or regulations.

The ACLI intends to release the information, once analyzed and assessed, to the public through
its numerous media outlets. Those outlets include but are not limited to its Internet website
(www.aclj.org), email list, radio programs, television programs, press releases, and regular
mailing list, as described above. The audience to which the ACLJ intends to disseminate the
requested information is reasonably broad. The ACLJ has been disseminating relevant
information concerning fundamental and constitutional freedoms and governmental
accountability since its founding in 1990, and has since then expanded its work and notoriety on
an international level, achieving credibility in a wide range of media outlets, as described above.
Also as described above, the ACLJ qualifies as a representative of the news media and as such, it
is presumed that this consideration is satisfied.

§ 16.10(k)(2)(iv): The public’s understanding of the subject in question will
be enhanced by the disclosure to a significant extent. Components shall not
make value judgments about whether the information at issue is “important”
enough to be made public.

Releasing the information described above will significantly contribute to the public’s
understanding through ACLJ review and assessment of the materials and information, and
subsequent dissemination of the information to the public. Such review, assessment, and
dissemination will help the public understand whether the DOJ or FBI complied with

5
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 40 of 95

applicable law and regulations concerning the meeting and its statements to the press
concerning the meeting and its aftermath. Where current media reports, though extensive in
number, on the subject of this request address the topic, apparently only one media source
was at the location of the meeting, and the records requested will provide actual and
authoritative sources for what actually happened, who was involved, and why.

§ 16.10(k)(3)(i): The requester has no commercial interest, as defined in
paragraph (b)(1) of this section, that would be furthered by the requested
disclosure.

As explained and described throughout this Memorandum, the ACLJ is a not-for-profit
50l(c)(3) organization dedicated to the defense of constitutional liberties secured by law and
the public dissemination of information by way of its numerous media platforms. The
information sought by the ACLJ is in furtherance of its not-for-profit mission statement. The
ACLJ has no commercial interest in the information sought or its dissemination thereof.

§ 16.10(k)(3)(ii): A waiver or reduction of fees is justified because the
requester had no commercial interest in disclosure. Components ordinarily
shall presume that where a news media requester has satisfied the public
interest standard, the public interest will be the interest primarily served by
disclosure to that requester.

Again, the ACLJ has no commercial interest in the information sought or its dissemination
thereof. Rather, its interest is purely to further its not-for-profit mission. Therefore, its interest
cannot be founded “primarily” in a commercial interest. This is especially so because the ACL]
cannot operate for a commercial purpose under its grant of 501(c)(3) tax-exempt status.

For these reasons, the ACLJ is entitled to a fee waiver.
Il. EXPEDITED PROCESSING REQUEST

The ACLJ seeks expedited processing of its request under 5 U.S.C. § 552(a)(6)(E), and the
DOJ’s attendant regulation, 28 C.F.R. § 16.5(e). As defined by statute, a “compelling need”
is one “with respect to a request made by a person primarily engaged in disseminating
information,” where there is an “urgency to inform the public concerning actual or alleged
Federal Government activity.” 5 U.S.C. § 552(a)(6)(E(v)ID. According to 28 CFR. §
16.5(e)(1):

(e) Expedited processing. (1) Requests and appeals shall be processed on an
expedited basis whenever it is determined that they involve:

(ii) An urgency to inform the public about an actual or alleged Federal
Government activity, if made by a person who is primarily engaged in

6

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 41 of 95

disseminating information;

(iv) A matter of widespread and exceptional media interest in which there exist
possible questions about the government's integrity that affect public confidence.

§ 16.5(e)(1)(ii), (iv). The DOJ’s regulation, 28 C.F.R. § 16.5(e)(3), provides:

A requester who seeks expedited processing must submit a statement, certified to
be true and correct, explaining in detail the basis for making the request for
expedited processing. For example, under paragraph (e)(1)(ii) of this section, a
requester who is not a full-time member of the news media must establish that the
requester is a person whose primary professional activity or occupation is
information dissemination, though it need not be the requester’s sole occupation.
Such a requester also must establish a particular urgency to inform the public
about the government activity involved in the request—one that extends beyond
the public’s right to know about government activity generally. The existence of
numerous articles published on a given subject can be helpful in establishing the
requirement that there be an “urgency to inform” the public on the topic. As a
matter of administrative discretion, a component may waive the formal

certification requirement.

§ 16.5(e)(3).

Pursuant to 28 C.F.R. § 16.5(e)(3), the ACLJ’s primary professional activity or occupation is
information dissemination, though it is not the requester’s sole occupation. As detailed above
under Section I(A) concerning the requester’s qualification as a news media representative:

Q)

(2)

(3)

(4)
(5)

The ACL] reaches a vast audience through a variety of media outlets, including
the Internet (World Wide Web page, www.aclj.org), radio, television, press
releases, and direct mailings to our supporters.

The ACLJ’s Internet site received an average of 822,000 unique visitors per
month in 2015, with 22,000,000 page views. Our current email list holds
1,050,000 active names (actual list size is 2,340,690). In 2015, the ACLJ sent
278,000,000 emails.

The ACLJ’s radio audience consists of more than 1,150,000 estimated daily
listeners on 873 radio stations nationwide, including SiriusXM satellite radio.
Additionally, the ACLJ hosts a weekly television program, Sekulow, broadcast on
eight networks: Cornerstone Television, Daystar Television Network, AngelOne,
KAZQ, TBN, VTN, The Walk TV, and HisChannel. See http://aclj.org/radio-
tv/schedule (listing schedule).

The ACLJI also disseminates news and information to over 1,000,000 addresses
on its mailing lists. In 2015, the ACLJ sent 15,000,000 pieces of mail.

ACLJ Chief Counsel, Jay Sekulow, has regularly appeared on various news and
talk show programs to discuss the issues and events important to the ACLJ and its

7

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 42 of 95

audiences. These include shows on FOX News, MSNBC, CNN, ABC, CBS, and
NBC. In addition to television programs, Jay Sekulow has also appeared on
national radio broadcasts. Beyond broadcast outlets, Jay Sekulow’s comments
appear regularly in the nation’s top newspapers, in print and online editions,
including but not limited to the Wall Street Journal, New York Times,
Washington Times, Washington Post, L.A. Times, and USA Today. His
comments also appear in major national newswire services that include, but are
not limited to, Associated Press, Reuters, and Bloomberg.

The District Court for the District of Columbia found that a non-profit public interest group,
not unlike the ACLJ, qualified as “representative of the news media” where the group

disseminated an electronic newsletter and published books. Elec. Privacy Info. Ctr. v. Dep't
of Def, 241 F. Supp. 2d 5, 10-15 (D.D.C. 2003).

Clearly, the ACLJ satisfies the requirement of being one “whose primary professional activity or
occupation is information dissemination.” 28 C.F.R. § 16.5(e)(3).

Also pursuant to 28 C.F.R. § 16.5(e)(3), the requester “must establish a particular urgency to
inform the public about the government activity involved in the request—one that extends
beyond the public’s right to know about government activity generally.” § 16.5(e)(3). And,
“{t}he existence of numerous articles published on a given subject can be helpful in establishing
the requirement that there be an ‘urgency to inform’ the public on the topic.” § 16.5(e)(3).

The ACLJ’s FOIA request qualifies as compelling under the second statutory definition
stated above and as one of particular urgency under the DOJ’s regulations, because the
ACLJ has an urgency to inform the public about the United States government activity that
could seriously undermine or enhance the integrity of the justice system of the United States
in its investigation of public figures. The DOJ and the FBI have come under significant
criticism in connection with the meeting that is the subject of this FOIA Request. The
records requested could exonerate the DOJ and the FBI and restore the public’s confidence
in those critical government offices. Or the records could confirm or refute the cause for
criticism. Either way, the records will educate the public on what really happened.

As one district court explained, the required “compelling need” and “urgency to inform” are
determined by three factors:

(1) [W]Jhether the request concerns a matter of current exigency to the American
public; (2) whether the consequences of delaying a response would compromise a
significant recognized interest; and (3) whether the request concerns federal
government activity.

ACLU v. United States DOJ, 321 F. Supp. 2d 24, 29 (D.D.C. 2004) (citing Al-Fayed v. CIA,
254 F.3d 300, 310 (2002)).

Such is the case presented by the ACLJ’s FOIA request. The ACLJ’s request is based upon
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 43 of 95

an urgency to inform the American public because a delay in review of the information
would compromise the integrity of the public’s confidence in the nation’s law enforcement
offices in connection with the investigation of and decision to not press charges against a
public figure — which is a currently pressing issue. The actions of some of the highest-
ranking officials in the United States are now under close scrutiny with regard to the DOJ
and FBI’s decisions concerning the meeting at issue. As mentioned in the ACLJ’s request,
which is incorporated by reference as if fully set forth herein, the press is currently and
actively reporting on these very issues. Numerous media and press articles have been
published on major and minor news outlets, which have not been cited or included herein for
purposes of not burdening the request-recipients with excess paper.

Without the immediate release of the information requested, the American public will
remain in the dark with respect to its own government’s activities, functions, and decisions
concerning the head of the DOJ meeting privately with the husband of a person under
criminal investigation, and thus cannot hold their government officials accountable.
Moreover, a delay in releasing the information prolongs justice and serves only to further
embarrass the United States both domestically and internationally, and confuse the public about
-what actually happened, as delay is perceived as an attempt to cover up information or to
shift or avoid blame or culpability. Thus, governmental accountability in justice and
integrity serve as significant public interests at stake. The records requested herein are the
subject of current and ongoing media reporting. This is a current, ongoing issue and the
public’s right to now is best served by expedited processing.

Clearly, “the request concerns a matter of current exigency to the American public”; “the
consequences of delaying a response would compromise a significant recognized interest”, “the
request concerns federal government activity.” ACLU, 321 F. Supp. 2d at 29.

* kK + %

As noted in the ACLJ’s FOIA request, President Obama’s Freedom of Information Act
Memorandum of January 21, 2009, declares that accountability and openness ought to
prevail with regard to FOIA requests:

A democracy requires accountability, and accountability requires transparency.
As Justice Louis Brandeis wrote, “sunlight is said to be the best of disinfectants.”
In our democracy, the Freedom of Information Act (FOIA), which encourages
accountability through transparency, is the most prominent expression of a
profound national commitment to ensuring an open Government. At the heart of
that commitment is the idea that accountability is in the interest of the
Government and the citizenry alike.

The Freedom of Information Act should be administered with a clear
presumption: In the face of doubt, openness prevails. The Government should not
keep information confidential merely because public officials might be
embarrassed by disclosure, because errors and failures might be revealed, or

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 44 of 95

because of speculative or abstract fears. Nondisclosure should never be based on
an effort to protect the personal interests of Government officials at the expense
of those they are supposed to serve. In responding to requests under the FOIA,
executive branch agencies (agencies) should act promptly and in a spirit of
cooperation, recognizing that such agencies are servants of the public.

Ali agencies should adopt a presumption in favor of disclosure, in order to renew
their commitment to the principles embodied in FOIA, and to usher in a new era
of open Government. The presumption of disclosure should be applied to all
decisions involving FOIA.

Accordingly, ACLJ respectfully submits a request for waiver of fees and expedited processing of
its contemporaneously submitted FOIA request.

IH. CERTIFICATION

In satisfaction of certification requirements under 5 U.S.C. § 552(a)(6)(E)(vi) and corresponding
regulations, the ACLJ incorporates by reference herein all relevant facts, media reports, and
information as stated in the ACLJ’s FOIA request in support thereof and certifies that the

information provided and stated herein is true and correct to the best of the undersigned’s
knowledge and belief.

 

olby4M. May
Senior Counsel
American Center for Law and Justice
201 Maryland Avenue, NE
Washington, DC 20002-5703
(202) 546-8890
(202) 546-9309 fax
emmay@aclj-dc.org

CC: FOIA/PA Mail Referral Unit, Department of Justice
Director of Public Affairs, Office of Public Affairs, Department of Justice

 

i
PRESIDENT BARACK OBAMA, MEMORANDUM FOR THE HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES RE:
FREEDOM OF INFORMATION ACT (Jan. 21, 2009), available at

https://www.whitehouse.gov/the_press_office/FreedomofinformationAct.

10

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 45 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN CENTER FOR LAW
AND JUSTICE

Plaintiff,
Civ. A. No. 1:17-cv-01866

Vv.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

Nee Ne Nene Nee Nowe” Newer Seem Nee Nee See eee Nee ee”

 

EXHIBIT B
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 46 of 95

U.S. Department of Justice

 

Federal Bureau of Investigation
Washington, D.C. 20535

August 5, 2016

DR. JAY ALAN SEKULOW

AMERICAN CENTER FOR LAW AND JUSTICE
201 MARYLAND AVENUE, NE
WASHINGTON, OC 20002

FOIPA Request No.: 1355324-000

Subject: Meeting between Attorney General
Loretta Lynch and President Bill Clinton
(June 27, 2016)

Dear Dr. Sekulow:

This acknowledges receipt of your Freedom of Information Act (FOIA) request to the FBI.
iv Your request has been received at FBI Headquarters for processing.

r Your request has been received at the Resident Agency / Field Office and
forwarded to FBI Headquarters for processing.

lv We are searching for information responsive to this request. We will inform you of the
results in future correspondence.

rm The subject of your request is currently being processed for public release. Documents will
be released to you upon completion.

i Release of responsive records will be made to the FBI's FOIA Library (The Vault).
http:/vault.fbl.gov, and you will be contacted when the release is posted.

i Your request for a fee waiver is being considered and you will be advised of the decision at
a later date. If your fee waiver is denied, you will be charged fees in accordance with the
category designated below. ,

w For the purpose of assessing fees, we have made the following determination:

rm As a commercial use requester, you will be charged applicable search. review, and
duplication fees in accordance with § USC § 552 (a)(4(A)(iE).

iw AS an educational institution, noncommercial scientific institution or representative
of the news media requester, you will be charged applicable duplication fees in
accordance with 5 USC § 552 (a)(4 (Ali HH).

rm As a general (all others) requester, you will be charged applicabie search and
duplication fees in accordance with 5 USC § 552 (a)(4)(A)(i}(II).

Please check the status of your FOIPA request at www.fol.govifola by clicking on FOIPA Status and
entering your FOIPA Request Number. Status updates are adjusted weekly. The status of newly assigned
requests may not be available until the next weekly update. If the FOIPA has been closed the notice will
indicate that appropriate correspondence has been mailed to the address on file.
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 47 of 95

For questions regarding our determinations, visit the www.foi.gov/foia website under “Contact Us.”
The FOIPA Request number listed above has been assigned to your request. Please use this number in all
correspondence concerning your request. Your patience is appreciated.

You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you
_ may submit an appeal through OIP’s FOlAonline portal by creating an account on the following web
site. https:/Aoiaonline requiations.gov/foia/action/public/home. Your appeal must be postmarked or
electronically transmitted within ninety (90) days from the date of this letter in order to be considered timely. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom of
Information Act Appeal.” Please cite the FOIPA Request Number assigned to your request so that it may be
easily identified.

You may seek dispute resolution services by contacting the Office of Government Information
Services (OGIS) at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBI's
FOIA Public Liaison by emailing foipaquestions@ic.foi.gov. If you submit your dispute resolution
correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
also cite the FOIPA Request Number assigned to your request so that it may be easily identified.

Sincerely,

Souls

David M. Hardy

Section Chief,

Record/Information
Dissemination Section

Records Management Division
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 48 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN CENTER FOR LAW
AND JUSTICE

Plaintiff,
Civ. A. No. 1:17-cv-01866

Vv.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

Ne Ne Nee eee ee ee ee ee ee ee ee ee”

 

EXHIBIT C
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 49 of 95

U.S. Department of Justice

 

Federal Bureau of Investigation
Washington. D.C. 20535

August 5, 2016

DR. JAY ALAN SEKULOW

AMERICAN CENTER FOR LAW AND JUSTICE
201 MARYLAND AVENUE, NE

WASHINGTON, Dc 20002

FOIPA Request No.: 1355324-000

Subject: Meeting between Attorney General Loretta
Lynch and President Bill Clinton

(June 27, 2016)

Dear Dr. Sekulow:

This Is in reference to your letter to the FBI, in which you requested expedited processing for the
above-referenced Freedom of Information Act (FOIA) request. Under Department of Justice (DOJ) standards,
expedited processing can only be granted in the following situations.

You have requested expedited processing according to:

_ 28 C.F.R. §16.5 (e}(1)(i): “Circumstances in which the lack of expedited treatment could reasonably
be expected to pose an imminent threat to the life or physical safety of an individual."

Vv 28 C.F.R. §16.5 (e}(1){fi): “An urgency to inform the public about an actual or alleged federal
government activity, if made by a person primarily engaged in disseminating information.”

28 C.F.R. §16.5 (e)(1){iii): “The loss of substantial due process of rights.”

C
gE 28 C.F.R. §16.5 (e){1){iv): “A matter of widespread and exceptional media interest in which there
exist possible questions about the government's integrity which affect public confidence.”

You have not provided enough information concerning the statutory requirements for expedition: therefore.
your request is denied.

For questions regarding our determinations, visit the www fbi qovfoia website under “Contact Us.”
The FOIPA Request number listed above has been assigned to your request. Please use this number in ail
correspondence concerning your request. Your patience is appreciated.

You may file an appeal by writing to the Director, Office of information Policy (OIP), United States
Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you
may submit an appeal through OIP's FOlAoniine portal by creating an account on the following web
site: https:/oiaonline.requiations.qov/foia/action/publicfhome. Your appeal must be postmarked or electronically
transmitted within ninety (90) days from the date of this letter in order to be considered timely. if you submit your
appeal by mail, both the letter and the envelope should be clearly marked “Freedom of information Act Appeal.”
Please cite the FOIPA Request Number assigned to your request so that it may be easily identified.
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 50 of 95

You may seek dispute resolution services by contacting the Office of Government Information Services (OGIS)
at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBI's FOIA Public Liaison by
emailing foipaquestions@ic.fhi.qov. If you submit your dispute resolution correspondence by email, the subject
heading should clearly state “Dispute Resolution Services.” Please also cite the FOIPA Request Number assigned to
your request so that it may be easily identified.

Sincerely,

OP,

David M. Hardy

Section Chief

Record/nformation
Dissemination Section

Records Management Division
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 51 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN CENTER FOR LAW
AND JUSTICE

Plaintiff,
Civ. A. No. 1:17-cv-01866

Vv.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

Nee ee ee ee ee ee ee ee ee ee ee

 

EXHIBIT D
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 52 of 95

U.S. Department of Justice

 

Federal Bureau of Investigation
Washington, D.C. 20535

August 23, 2016

DR. JAY ALAN SEKULOW

AMERICAN CENTER FOR LAW AND JUSTICE
201 MARYLAND AVENUE, NE
WASHINGTON, DC 20002

FOIPA Request No.: 1355324-000

Subject: Meeting between Attorney General
Loretta Lynch and President Bill Clinton
(June 27, 2016)

Dear Dr. Sekulow:

This is in reference to your letter directed to the Federal Bureau of investigation (FBI), in which you
requested expedited processing for the above-referenced Freedom of Information Act (FOIA) request.
Pursuant to the Department of Justice (DOJ) standards permitting expedition, expedited processing can only
be granted when it is determined that a FOIPA request involves one or more of the below categories.

You have requested expedited processing according to:

- 28 C.F.R. §16.5 (e)(1)(i): “Circumstances in which the lack of expedited treatment could
reasonably be expected to pose an imminent threat to the life or physical safety of an
individual.”

-_ 28 C.F.R. §16.5 (e}(1}{li}: “An urgency to inform the public about an actual or alleged

federal government activity, if made by a person primarily engaged in disseminating
information.”

rm 28 C.F.R. §16.5 (e)(1}{iii): “The loss of substantial due process of rights.”

vw 28 C.F.R. §16.5 (e)(1)(iv): "A matter of widespread and exceptional media interest in which
there exist possible questions about the government's integrity which affect public
confidence.”

Upon further review of the request, it was determined that you provided enough information
concerning 28 C.F.R. §16.5 (e)(1}iv): therefore, your request is approved.

For questions regarding our determinations, visit the yovw fol govifoia website under “Contact Us.”
The FOIPA Request number listed above has been assigned to your request. Please use this number in all
correspondence concerning your request. Your patience is appreciated.

You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001. or you
may submit an appeal through OIP’s FOIAonline portal by creating an account on the following web
site: httos:/folaonline regulations .gov‘fola/action/public/home. Your appeal must be postmarked or
electronically transmitted within ninety (90) days from the date of this letter in order to be considered timely. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom of
information Act Appeal.” Please cite the FOIPA Request Number assigned to your request so that it may be
easily identified.
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 53 of 95

You may seek dispute resolution services by contacting the Office of Government Information
Services (OGIS) at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBI's
FOIA Public Liaison by emailing foipaquestions@ic.folgov. If you submit your dispute resolution
correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
also cite the FOIPA Request Number assigned to your request so that it may be easily identified.

Sincerely,

Oleh,

David M. Hardy

Section Chief

Record/Information
Dissemination Section

Records Management Division
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 54 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN CENTER FOR LAW
AND JUSTICE

Plaintiff,
Civ. A. No. 1:17-cv-01866

Vv.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

Nee Nm Nee Ne Ne Nae ee ee ee ee ee”

 

EXHIBIT E
Case 1:17-cv-01866-APM Document 14-2: Filed 02/01/18 Page 55 of 95

U.S. Department of Justice

 

Federal Bureau of Investigation
Washington, D.C. 20535

October 21, 2016

DR. JAY ALAN SEKULOW

AMERICAN CENTER FOR LAW AND JUSTICE
201 MARYLAND AVENUE, NE
WASHINGTON, DC 20002

Request No.: 1355324-000

Subject: Meeting between Attorney General
Loretta Lynch and President Biil Clinton
(June 27, 2016)

Dear Dr. Sekulow:

This is in response to your Freedom of Information Act (FOIA) request. No records responsive to
your request were located.

For your information, Congress excluded three discrete categories of law enforcement and national
security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2006 & Supp. IV (2010). This
response is limited to those records that are subject to the requirements of the FOIA. This is a standard
notification that is given to all our requesters and should not be taken as an indication that excluded records
do, or do not, exist.

For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
The FOIPA Request Number listed above has been assigned to your request. Please use this number in all
correspondence concerning your request. Your patience is appreciated.

You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you
may submit an appeal through OIP's FOIAonline portal by creating an account on the following web
site: https://foiaontine requlations.gov/foia/action/public/home. Your appeal must be postmarked or
electronically transmitted within ninety (90) days from the date of this letter in order to be considered timely. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom of
information Act Appeal.” Please.cite the FOIPA Request Number assigned to your request so that it may be
easily identified.

You may seek dispute resolution services by contacting the Office of Government Information
Services (OG!S) at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBI's
FOIA Public Liaison by emailing foipaquestions@ic.foi.gov. if you submit your dispute resolution
correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
also cite the FOIPA Request Number assigned to your request so that it may be easily identified.

Enclosed for your information is a copy of the FBi Fact Sheet.

Sincerely,

Sd

David M. Hardy

Section Chief.

Record/Information
Dissemination Section

Records Management Division

Enclosure
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 56 of 95

FBI FACT SHEET

 

The primary functions of the FBI are national security and law enforcement.
The FBI does not keep a file on every citizen of the United States.
The FBI was not established until 1908 and we have very few records prior to the 1920s.

FBi files generally contain reports of FBI investigations of a wide range of matters, including counterterrorism,
counter-intelligence, cyber crime, public corruption, civil rights, organized crime, white collar crime, major thefts,
violent crime, and applicants.

The FBI does not issue clearances or non-clearances for anyone other than its own personnel or persons
having access to FBI facilities. Background investigations for security clearances are conducted by many
different Government agencies. Persons who received a clearance while in the military or employed with some
other government agency should contact that entity. Most government agencies have websites which are
accessible on the internet which have their contact information.

An identity history summary check or “rap sheet” is NOT the same as an “FBI file.” It is a listing of information
taken from fingerprint cards and related documents submitted to the FBI in connection with arrests, federal
employment, naturalization or military service. The subject of a “rap sheet” may obtain a copy by submitting a
written request to FB! CJIS Division - Summary Request, 1000 Custer Hollow Road, Clarksburg, WV 26306.
Along with a specific written request, the individual must submit a new full set of his/her fingerprints in order to locate
the record, establish positive identification, and ensure that an individual's records are not disseminated to an
unauthorized person. The fingerprint submission must include the subject's name, date and place of birth. There
is a required fee of $18 for this service, which must be submitted by money order or certified check made payable to
the Treasury of the United States. A credit card payment option is also available. Forms for this option and
additional directions may be obtained by accessing the FBI Web site at

www. fbi.gov/about-us/cjis/identity-history-summary-checks.

The National Name Check Program (NNCP) conducts a search of the FBI's Universal Index (UNI) to identify any
information contained in FBI records that may be associated with an individual and provides the results of that
search to a requesting federal, state or local agency. Names are searched in a multitude of combinations and
phonetic spellings to ensure all records are located. The NNCP also searches for both “main” and “cross
reference” files. A main file is an entry that carries the name corresponding to the subject of a file, while a cross
reference is merely a mention of an individual contained in a file. The results from a search of this magnitude can
result in several “hits™ and “idents” on an individual. In each instance where UNI has identified a name variation or
reference, information must be reviewed to determine if it is applicable to the individual in question.

The Record/Information Dissemination Section (RIDS) searches for records and provides copies of FBI files
responsive to Freedom of Information or Privacy Act (FOIPA) requests for information. RIDS provides responsive
documents to requesters seeking “reasonably described information.” For a FOIPA search, the subject's name,
event, activity, or business is searched to determine whether there is an associated investigative file. This is called
a “main file search” and differs from the NNCP search.

FOR GENERAL INFORMATION ABOUT THE FBI, VISIT OUR WEBSITE AT
www, fbi.gov

7/48/16
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 57 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN CENTER FOR LAW
AND JUSTICE

Plaintiff,
Civ. A. No. 1:17-cv-01866

Vv.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

Ne Ne ee ee ee ee ee ee ee es

 

EXHIBIT F
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 58 of 95

U.S. Department of Justice

 

Federal Bureau of Investigation
Washington, D.C. 20535

August 10, 2017

MR. JAY SEKULOW

AMERICAN CENTER FOR LAW AND JUSTICE
201 MARYLAND AVENUE NORTHEAST
WASHINGTON, DC 20002-5703

FOIPA Request No.: 1355324-001

Subject: Meeting between Attorney General
Loretta Lynch and President Bill Clinton
(June 27, 2016)

Dear Mr. Sekulow:

The purpose of this letter is to advise of the change in status of your Freedom of Information Act
(FOIA) request submitted to the Federal Bureau of Investigation (FBI).

You submitted a request by letter dated July 15, 2016 to this office seeking various records of, or
related to, the subject meeting above. You also submitted an identical request of the same date to the
Department of Justice (DOJ), FOIA/PA Mail Referral Unit.

By letter dated October 21, 2016, the FBI advised you it had located no records responsive to your
request (FOIPA Number 1355324-000). Subsequently, the Department of Justice (DOJ) forwarded
communications it located per its search on the identical request to FBI for consultation, and the FBI
identified a limited number of privacy redactions (Exemptions b6 and b7C) to protect the identities of FBI
personnel contained within these communications. As a result, your request has been reopened under the
FOIPA number listed above as the FBI has determined records potentially responsive to your request may
exist. We are currently in the process of searching for any responsive material.

For questions regarding our determinations, or to check the status of your FOIPA request, please
visit the www.fbi.gov/foia website under “Contact Us.” The FOIPA Request number listed above has been
assigned to your request. Please use this number in all correspondence concerning your request. Your
patience is appreciated.

Sincerely,

David M. Hardy
Section Chief,
Record/Information

Dissemination Section
Records Management Division
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 59 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN CENTER FOR LAW
AND JUSTICE

Plaintiff,
Civ. A. No. 1:17-cv-01866

Vv.

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

Nene Nee Nee Nee Ne ne ee ne ee ee ee ee ee”

 

EXHIBIT G
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 60 of 95

 

_ FOIPAQUESTIONS
From: FOIPAQUESTIONS
Sent: Monday, September 11, 2017 3:19 PM
To: ‘Carly Gammiil’; Colby May
Ce: Abby Southerland; Miles Terry (mterry@aclj.org); Ben Sisney
Subject: RE: FOIA Request: 1355324-001; Authorization to Communicate with ACU’s Carly

Gammill, Esq.

Dear Ms. Gammill,

This is in response to your inquiry regarding a time frame for completion regarding requests for expedited
processing. Once expedited processing has been approved, the Record/Information Dissemination Section will
process the request “as soon as practicable.”

if you require additional assistance please feel free to contact foipaquestions@fbi.gov-

Thank you,

Leanna Romsey

Public Information Officer

Record/Information Dissemination Section (RIDS) FB]-Records Management Division
170 Marcel Drive, Winchester, VA 22602-4843

Direct: (540) 868-4593

Fax: (540) 868-4391/4997

Questions E-mail: foipaquestions@fbi.gov

Do you have further questions about the FO1/PA process? Visit us at http://www.fbigov/foia

Please check the status of your request online at https://vault. fbi gov/fdps-1/@@search-fdps Status updates are
performed on a weekly basis.

From: Carly Gammill [mailto:cgammill@aclj-dc.org]

Sent: Monday, September 11, 2017 3:13 PM

To: FOIPAQUESTIONS <FOIPAQUESTIONS@FBI.GOV>; Colby May <cmmay@aclj-dc.org>

Cc: Abby Southerland <asoutherland@acij.org>; Miles Terry (mterry@aclj.org) <mterry@aclj.org>; Ben Sisney
<bsisney @acij.org>

Subject: RE: FOIA Request: 1355324-001; Authorization to Communicate with ACL's Carly Garnmill, Esq.

Ms. Ramséy,

| appreciate your speaking with me this afternoen. You eonfirmed that the initial grant of expedited precessing will be

applied to thé re-opened request. What is the typical timeframe in which the FBI responds te requests subjeét te
axpedited processing?

Thank you,

Garly F. Gammill, Esq.

Senior Litigation Counsel

American Center for Law & Justice

626 Bakers Bridge Avenue, Ste 106-121
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 61 of 95

Franklin, TN 37067
Ph: (800) 286-4629
Fax: (616) 308-8832
cgammill@aclj-de.or

CONFIBENTIALITY & METADATA NOTICE:

This message and any attached documents centain information from the nonprofit publi interest law firm of the American
Genter far Law and Justice (ACLU) that may be confidential and/er privileged. If you are not the intended recipient, you
may not read, copy, distribute, or use this infermation. All recipients are also hereby notified that any metadata contained
in any document attached to this message has been sent inadvertently and should net be reviewed without the consent ef
the AGLJ, If yeu have received this transmission in error, please notify the sender immediataly by reply e-fail and then
delete this message.

From: FOIPAQUESTIONS [mailto: FOIPAQUESTIONS@FBI.GOV]

Sent: Monday, September 11, 2017 1:58 PM

To: Colby May

Cc: Carly Gammill; Abby Southerland; Miles Terry (mterry@aclj.org); Ben Sisney; Glinda Corbin

Subject: RE: FOIA Request: 1355324-001; Authorization to Communicate with ACLJ's Carly Gammill, Esq.

Thank you.

Ms. Gammill, | returned your call at the number you provided and received a message indicating it is not a
valid-extension. Do you have another phone number | should call you on?

Respectfully,

Leanna Ramsey
Public Information Officer
Record/Information Dissemination Section (RIDS) FBI-Records Management Division
170 Marcel Drive, Winchester, VA 22602-4843

Direct: (540) 868-4593

Fax: (540) 868-4391 /4997
Questions E-mail: foipaquestic

  

ns@[bi.gov
Do you have further questions about the FOI/PA process? Visit us at http://www fbi gov/foia

Please check the status of your request online at https://vault.foi.gov/fdps-1/@@search-fdps Status updates are
performed on a weekly basis.

From: Colby May [mailto:cmmay@acli-dc.org]
Sent: Monday, September 11, 2017 11:47'AM

To: FOIPAQUESTIONS <fFOIPAQUESTIONS@EBI.GOV>
Ce: Carly Gammill <cgammill@aclj-dc.org>; Abby Southerland <asoutherland@aclj.org?: Miles Terry (mterry@acl|.org)

<mterry@aclj.org>; Ben Sisney <psisney@acli.org>; Glinda Corbin <gmcorbin@aclj-dc.org?
Subject: FOIA Request: 1355324-001; Authorization to Communicate with ACLI's Carly Gammill, Esq.

 

Dear Ms. Leanna Ramsey:
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 62 of 95

in connection with the American Center for Law and Justice’s FOIA Request: 1355324-001, this is to authorize your direct
communications with my colleague, Ms. Carly F, Gammiil, Esq., an attorney with the ACU. if you have any questions, or
need anything additional from me to directly communicate with Ms. Gammill, please let me know.

Thank you for your work on this matter.
Kind regards,

Colby M. May

ate Colny May. Hog
AEP TB Buructot 6 Boner Cannel, Weshivgion thes
ACLJ 266 Marylans Anverue, NE
Aroertean Contes Wastingion, OC 26002
sl awa Juche (202) 40-8000
Fun (202) 646.0560
porbarshacysie ol0

 

 

CONPIOENTIALITY NOTKER thee elocirone mesiegt rom the Amencen Canise tor Law one susnce andar Ariorcan Goalie i6r how and dutbee « Crates
of Calunbia (ogeiter AGLI) and any incompaiying dotumons of ethiedded mebangua ib iletded onty tor ihe addigangols| Rated Above ACK is 0 legal
enbly @gepad in he Drache OF law, ANE Chie GORHUNICAEGA GorMiadts IPONENOR, WHA May intlude meladala, inal « Gonkdenbal, prviloged. attorney:
chant, atlotrey work pioduel, of horsey pretodlgd (od) UincosutE oAdot epPphandis low H you hues loved Biy fopenage if orfot, sd Mot oD hamed
FeGeerl, OF 21 HOI Te DONOR, INBIOY OS, OF AGENT HeNpOetlN Tor dalneguing fxs massage {9 4 denied momen, De subed Hal any lene, diisudd.

uso. Gihaterenubon, delvibulen, 6° eproduaton of itis message sf cry atiseliod higa im abielly prdhibhiad if you have fectiwod Gut miaasage ih org? please
urenedhately nobly INO Sene and parmandntly delete the message INS CIHCULAR 790 DIBCLOBUHE (31 CFE Part 10) Any los adnee Conlenied 14 nis
Colivhwinention Griuaag any ailocyinanta) wae nol vitended te be weed, nd caringl ba wii, for tha pipet of avading aby U8. tax poration shal may be
LA gbOS Ol yOu, OF Or Me pulpoms oF DiOrbaliig, Marksiig, of etoinmending Any lernactdt oi matlos addroweed horn”
Case 1:17-cv-01866-APM Document14-2 Filed 02/01/18 Page 63 of 95

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

AMERICAN CENTER FOR LAW
AND JUSTICE

Plaintiff,
V.

Civ. A. No. 1:17-cv-01866

UNITED STATES DEPARTMENT OF
JUSTICE,

Defendant.

‘
Nae Nee ee ee ee ee ee eee eee ee ee”

 

EXHIBIT H
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 64 of 95

 

MS. ABIGAIL A. SOUTHERLAND

MR. JAY SEKULOW

AMERICAN CENTER FOR LAW AND JUSTICE
201 MARYLAND AVENUE NORTHEAST
WASHINGTON, DC 20002-5703

U.S. Department of Justice

Federal Bureau of investigation
Washington, D.C, 20535

Novernber 30, 2017

FOIPA Request No.: 1355324-001

Subject: Meeting between Attorney General Loretta
Lynch and President Bill Clinton
(June 27. 2016)

ACLJ v_U.S. Department of Justice
Civil Action No. 17-cv-01866

Dear Ms. Southerland and Mr. Sekulow.

The enclosed documents were reviewed under the Freedom of Information Act (FOIA), Title 5, United States
Coda, Section §52. Deletions have been made to protect information which is exempt from disclosure, with the
appropriate exemptions noted on the page next to the excision. The exemptions used to withhold information are

marked below and explained on the enclosed Explanation of Exemptions:

 

 

 

Section 552
T (61) T™ @X7KA
™ (bX2) F™ (0x78)
 (by(3) MF (b\K7\C)
T™ (by7D)
T (o)(7XE)
PT (b)(7\F)
[~ (bX4) F™ (b)(8)
(x5) T™ (b)(9)

I (b)(6)
29 pages were reviewed and 29 pages are being released.

Vv
denials, please write directly to that agency at the following address.

Office of Information Policy
US. Department of Justice
Sulte 11050

1425 New York Avenue, NW
Washington, DC 20530

Section §52a
(45)
I gx)
TM ayy
T™ (k)(2)
(kya)
T™ (ky)
7 (5)
FT (k)(6)
FP (k)(7)

Deletions were made by the Department of Justice, Office of Information Policy (OIP). To appeal those

In accordance with standard FBI practice and pursuant te FOIA exemption (b)(7)E) and Privacy Act
exemption (j)(2) [5 U.S.C. § §52/852a (b}(7ME)/G)(2)], this response neither confirms nor denies the

existence of your subject's name on any watch lists.
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 65 of 95

For your information, Congress excluded three discrete categories of law enforcement and national
security records from the requirements of the FOIA. See 5 U.S. C. § 552(c) (2006 & Supp. IV (2010). This
response is limited to those records that are subject to the requirements of the FOIA. This is a standard
notification that is given to all our requesters and should not be taken as an indication that excluded records do, or
do not, exist. Enclosed for your information is a copy of the Explanation of Exemptions.

Although your request is in litigation, we are required by 5 USC § 552 (a@)}(6)(A) to provide you the following
information concerning your right to appeal. You may file an appeal by writing to the Director, Office of Information
Policy (OIP), United States Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C.
20530-0001. or you may submit an appeal through OIP’s FOlAoniine portal by creating an account on the foliowing
web site: https://Molaonline requiations covioia/action/public/home. Your appeal must be postmarked or
electronically transmitted within ninety (90) days from the date of this letter in order to be considered timely. !f you
submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom of information Act
Appeal.” Please cite the FOIPA Request Number assigned to your request so that it may be easily identified

rm The enclosed material is from the main investigative file(s) in which the subject(s) of your request was
the focus of the investigation. Our search located additional references, in files relating to other
individuals, or matters, which may or may not be about your subject(s). Our experience has shown
when ident, references usually contain information similar to the information processed in the main
file(s). Because of our significant backlog, we have given priority to processing only the main
investigative file(s). ff you want the references, you must submit a separate request! for them in writing.
and they will be reviewed at a later date, as time and resources permil.

VV

See additional information which follows.

Sincerely,

Prd

David M. Hardy

Section Chief

Record/Information
Dissemination Section

Records Management Division

Enclosure(s)

The enclosed documents represent the final release of information responsive to your Freedom of
Information Act (FOIA) request.

This material is being provided to you at no charge. Accordingly, lis unnecessary to adjudicate your
request for a fee waiver as no fees are being assessed.
(yA)

(bx 5)

(b}6)

(by7)

(b)(8)

(b)(9)

(ky}6)

KY?)

Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 66 of 95

EXPLANATION OF EXEMPTIONS
SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
policy and (B) are in fact properly classified to such Executive order.

related solely to the internal personne! rules and practices of an agency,

specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (Ay requires chatihe maners
be withheld from the public in such a manner as to leave no discretion on issue, or (13) establishes particular criteria for withhalding or refers
to particular types of matters to be withheld,

trade secrets and commercial or financial information obtained from a person and privileged or confidential,

inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency m linganon with
the agency:

personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy,

records or information compiled for law enforcement purposes, but only fo the extent that the production of such law enforcement records or
information ( A ) could reasonably be expected to interfere with enforcement proceedings. (B ) would deprive a person of aright to a far
trial or an impartial adjudication, (C } could reasonably be expected to constitute an unwarranted invasion of personal privaey, ( D ) could
reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any private
institution which furnished information on a confidential basis, and. in the case of record or information compiled by a criminal law
enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful awbonal security inteligence
investigation, information furnished by a confidential source. (E ) would disclose techniques and procedures for law enforcement
investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
reasonably be expected to risk circumvention of the law, or (F ) could reasonably be expected to endanger the lite or physical safety af ans
individual:

contained in or related to examination, operating, or condition reports prepared by, on behalf of. or for the use of an agency responsible for
the regulation or supervision of financial institutions; or

geological and geophysical information and data, including maps. concerning wells.
SUBSECTIONS OF TITLE §, UNITED STATES CODE, SECTION S824
information compiled in reasonable anticipation of a civil action proceeding:

material reporting investigative efforts pertaining to the enforcement of criminal law including eflaris to prevent, control, or redace crime
or apprehend criminals;

information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or forvigs policy.
for exarnple, information involving intelligence sources or methods:

investigatory material compiled for law enforcement purposes, other than criminal, which did nat result in loss of a right, benefit or privilege
under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identicy would be
held in confidence:

material maintained in connection with providing protective services to the President of the United States ar. any other individual pursuant to
the authority of Title 18, United States Code, Section 3056;

required by statute to be maintained and used solely as statistical recards:

investigaiory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
employment or for access to classified information, the disclosure of which would reveal the identity of the person who furmshed
information pursuant to a promise that his/her identity would be held in confidence,

testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service he
release of which would compromise the testing or examination process,

material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity atthe perses
who furnished the material pursuant to a promise that his/her identity would be held in contidence
PREDGY
Case 1:17-cv-01866-APM Document 14-2. Filed 02/01/18 Page 67 of 95

Bowdich, David L. (DO) (Fel)

 

From: Bowdich, David L. (DO) (F8!}

Sent: Wednesday, June 29, 2016 4:07 PM
Ta: James B. Comey

Subject: RE: FYI only

Got it, thanks sir.

Dave

From: Jarnes 8. Comey

Sent: Wednesday, june 29, 2016 4:04 PM

To: Kortan, Michael P. (DO) (FRI [Rybicki, James E. {00} (FBI
| [ Mccabe, Andrew G. (DO} (F8t)] | Bowdich, David |. bé -

{DO} (FBI)

Subject: Fyt only

 

 

hitp: “nation foxnews.com’20 16/06/29 why-did- bdl-chnton-and-loretta-lynch-meet-her-amplane -phornm- week

FBI-1
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 68 of 95

Kortan, Michael P. (DO) (FB! }

From: Kostan, Michael P. (DO) (FBI)

Sent: Wednesday, June 29, 2016 4:42 PM

To: Mccabe, Andrew G. (DO) (FBI); Rybicki, James E. (DO) {FBI}; Bowdich, David t.
(DO) (FB)

Ce: James B. Comey

Subject: From DOh....

From: Newman, Melanie {OPA} {mailto:Melanie.Newman@usdoj.gov]

Sent: Wednesday, lune 29, 2016 4:39 PM

To: Quinn, Richard P. (DO) (FBI}] | Kortan, Michael P. {D0} (FB) b6 -1
{

Ce: Lewis, Kevin S. (OPA} (3MD} <Sevin. S.Lewis@usdoj.gov>

Subject: FLAG

 

 

i want to flag a story that is gaining some traction tonight. Daily Caller, The Hill and FOX News have picked up
alocal Phoenix news report about a casual, unscheduled meeting between former president Bill Clinton and
the AG. Ht happened on Monday night. Our talkers on this are below, along with the transcript from the AG's
Phoenix presser, where she was asked about this. Happy to discuss further by phone. Please let me know if
you get any questions about this. Thanks.

TRANSCRIPT
REPORTER: Sources say that you met last mght with former president Bil Cinten. Did the topic of Benghazi
come up at all, or can you tell us what was discussed?

ATTORNEY GENERAL LYNCH: No. Actually, while I was landing at the airport, 1 did see President
Clinton at the Phoenix aurport as I was leaving, and he spoke to myself and my busband on the plane. Our
conversation was a great deal about his grandchildren. It was primary social and about our travels. He
mentioned the golf he played in Phoenm, and he mentioned travels he'd had m West Virginia. We talked about
former Attorney General Janet Reno, for example, whom we both know, but there was no discussion of any
roster pending before the department or any matter pending before any other body. There was no discussion
of Benghazi, no discussion of the state department ernails, by way of example. I would say the current news of
the day was the Brexit decision, and what that might mean. And again, the department's not arvolved in that or
implicated in that.

bS per OIP

 

 

 

 

PBI 2
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 69 of 95

bS per OIP

 

 

 

 

Melanie R. Newman

Director, Office of Public Affairs

U.S. Department of Justice

Direct: 202-305-1920

| b6 per OIP
@MelilanieDo)

FBI-3
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 70 of 95

Mccake, Andrew G. (00) (FBI)

From: Mccabe, Andrew G. [DO} (FBI)

Sent: Friday, luly 01, 2016 6:10 AM

To: James B. Comey; Rybicki, James. E. (DO) (FBI); Bowdich, David L. (DO) (FBI)

Subject: Furd: Lynch to Remove Herself From Decision Over Clinton Emails, Official Says -
NYTimes.com

Importance: High

Fyi

Andrew G. McCabe
Deputy Director

Federal Bureau of Investigation bé -1

 

 

 

 

~———mm Original message --—-—-

From: “Priestap, EW. (CO) (FBY"[ sd

Date: 07/01/2016 5:53 AM ([GMT-05;00) b6 -1
To: “Steinbach, Michael 6. (DO) (FBI)"| | “Mccabe, Andrew G. (DO)

(Fat}"[ J

Subject: Fwd: Lynch to Remove Herself From Decision Over Clinton Emails, Official Says - NYTimes.com

 

 

—----- Original message --——-

From: "Strzok, Peter P. {CO} (FBT SSCSC~*@d:

Date: 07/01/2016 5:36 AM {GMT-05:00)
To: “Priestap, F W. (CD) (FBI}"] | “Moffa, Jonathan C. (CD) {F BI"

bé -1
| “Mains, Richard

A. (RO) (FBI) | |
Subject: Fwd: Lynch to Remove Herself From Decision Over Clinton Emails, Official Says - NYTimes.com

http://mobile.nytimes.com/2016/07/02/us/politics Aoretta-lynch-hillary-clinton-email-server.htm{?
mO&referer=https://wew.google.com/

FBI-4
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 71 of 95

Lynch to Remove Herself From Decision Over
Clinton Emails, Official Says

Attorney General Loretta £. Lynch plans to announce on Friday that she will accept whatever
recommendation career prosecutors and the F.B.1, director make about whether to bring charges
related to Hillary Clinton's personal email server, a Justice Department official said. Her decision

removes the possibility that a political appointee will overrule investigators in the case.

The justice Department had bean moving toward such an arrangement for months — officials said in
April that it was being considered — but a private meeting between Ms. Lynch and former President
Bill Clinton this week set off a political furor and made the decision all but inevitable.

Republicans said the meeting, which took place at the Phoenix airport, had compromised the
independence of the investigation as the F.6.1. was winding it down. Some called for Ms. Lynch to
recuse herself, but she did not take herself off the case — one that could influence a presidential
election.

Ms. Lynch plans to discuss the matter at a conference in Aspen, Colo., on Friday. The Justice
Department declined to comment. The official who confirmed the discussion did so on the condition of
anonymity because the intemal decision-making process is normally kept confidential.

The F.8.1. is investigating whether Mrs. Clinton, her aides or anyone else broke the law by setting up a
private email server for her to use as secretary of state. Internal investigators have concluded that the
server was used to send classified information, and Republicans have seized on the matter to question
Mrs. Clinton's judgment.

For the Justice Department, the central question is whether the conduct met the legal standard for the
crime of mishandling classified information.

Ms. Lynch sald that the meeting with Mr. Clinton was unplanned, largely social and did not touch on
the email investigation. She suggested that he walked uninvited from his plane to her government —
plane, both of which were parked on a tarmac at Phoenix Sky Harbor Internationa! Airport.

“He did come over and say hello, and speak to my husband and myself, and talk about his
grandchildren and his travels and things like that,” Ms. Lynch said at a news conference in Los Angeles
on Wednesday, where she was promoting community policing. “That was the extent of that. And no
discussions were held into any cases os things like that.”

That did not mollify Republican lawmakers, who said the meeting raised questions about the integrity
of the government's investigation.

“in light of the apparent conflicts of interest, | have called repeatedly on Attorney General Lynch to
appoint a special counsel to ensure the investigation Is as far from politics as possible,” Senator John
Cornyn, Republican of Texas and a member of the Judiciary Committee, said in a statement on
Thursday.

The meeting created an awkward situation for Ms. Lynch, a veteran prosecutor who was nominated
from outside Washington’s normal political circles. in her confirmation, her allies repeatedly sought to

FBI-S
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 72 of 95

contrast her with her predecessor, Eric H. Holder jr. an- outspoken liberal voice In the administration
who clashed. frequently with Republicans who accused him of politicizing the office.

Ms. Lynch has said she wants to handle the Clinton investigation

FBI-6
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 73 of 95

Kortan, Michael P. (DO) (FB!)

From: Kortan, Michael P. (DO} (FBI)
Sent: Friday, July 01, 2016 5:11 PM
To: Mccabe, Andrew G. (DO} {FBI}; Bowdich, David L. (OC) (FBI); Rybickl, James E.

(DO) (FBI); Kelly, Stephen D. (D0) (FBI); Steinbach, Michael 8. {DO) (FBI):

Priestap, E W. {CD} (ean{ foo} (FBI) b6 -1
Ce: James B. Comey
Subject: AG transcript, Aspen ideas festival, Fri 1 July

JONATHAN CAPEHART: Thank you ail for being here this morning.

Attorney General, thank you very much for being here.

ATTORNEY GENERAL LORETTA LYNCH: Thank you for having me.

CAPEHART: So as Walter said, you have a reputation of having the highest integrity, utmost solid
judgment. So when peaple heard what went down in Phoenix, a lot of people were like — | mean, frends,
supporters. backers were saying, what on Earth was she thinking talking to Bill Clinton?

So what on Earth were you thinking?

(LAUGHTER)

What happened?

LYNCH: Well, | think that's the question of the day, isn't?

CAPEHART: Yes.

LYNCH: And | think that's a perfectly reasonable question. { think that's the question that is called, you
know, by what happened in Phoenix because people have also wondered and raised questions about
my role ithe ultimate resolution of matters involving the investigation into the State Department e-
mais.

And to the extent that people have questions about that, about my role in thal, certainly my meeting with
him raises questions and concerns And so believe me, | completely yet that question. And | think tis
the question of the day

But | think the issue is, again, what is my role in how that matter is going to be resolved? And so let me
be clear on how that is going to be resolved. I've gotten that question a fot aiso over time and we usuaily
don't go into those deliberations, but | do think #’s important that people see what that process ts like

As | have always indicated, the matter ts being handied by career agents and investigators with the
Department of Justice. They've had # since the beginning. They are independent.

CAPEHART: Which predates your tenure as altorney general.

LYNCH: # predates my tenure as attorney general. i ts the sarne team and they are acting
FBI-7
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 74 of 95

independently They follow the law, they follow the facts. That team will make findings. That is to say
they will come up with a chronology of what happened, the factual scenario.

They wil make recommendations as to how to resolve what those facts lead to. Those — the
recommendations will be reviewed by career supervisors in the Department of Justice and in the FBI
and by the FBI director. And then, as is the common process, they present a to me and | fully expect to
accept ther recommendations.

CAPEHART: Now, what's interesting here is you Say you fully expect to accept the recommendations.
One thing people were saying this morning when the news -- when the news broke was that you were.
quote, “recusing yourself from having any kind of role in the final determination. Is that the case? bs that
what you're saying?

LYNCH: Well. a recusal would mean that | wouldn't even be briefed on what the findings were or what
the actions going fanward would be And while | don't have a role in those findings and coming up with

those findings or making those recommendations as to how to go forward. i'll be briefed on it and | will
be accepting their recommendations.

CAPEHART: And when you say ~ again, this must be the journalist in me and linguist in me ~
accepting to me means here, Madam Attorney General, here are our findings. and you completely
accept them wholeheartedly and then issue ther to the public. or you accept them, look them over and
then make your own determination a5 to what the final determinations will be?

LYNCH: No. The final determination as to how to proceed will be contamed within the
recommendations in the report in whatever format the team puts it together. that has not been resolved,
whatever report they provide to me. There will be a review of their investigation. there will be a rewew of
what they have found and determined to have happened and occurred. and there'll (ph) be thei
determinations as to how they feel that the case should proceed.

CAPEHART: And when you say there will be a review, this - you mean the review will be done by you
once you accept the recommendations and determinatians..

(LAUGHTER)

LYNCH: No, | understand.

| CAPEHART.: ._ or you're talking about the process of the rewew...

LYNCH: I'm talking about the initial...

CAPEHART: . . getting to that point?

LYNCH: ... process...

CAPEHART. Got &.

LYNCH: ... of haw this case will be resolved. This case will be resolved by the tearn thal's been working
on it from the beginning. Supervisors always review matters. in this case, that review will be carcer
people in the Department of Justice. and also the FBI will review i up to and including the FBI director,
and that will be the finalization of not just the factual findings, but the next steps in this matter
CAPEHART: And | find it interesting. several trnes now you have made a point of saying career
prosecutors, career officials within the Justice Department. Why -- why are you malang that very hard ~

distinction, that description?

LYNCH: | think a jot of the questions that I've actten over the -- over the past several months. frankly.
FBI-8
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 75 of 95

about my roje in this investigation and what t would likely be was a question of concern about whether
someone who was 2 political appointee would be involved in deciding how to investigate a matter or
what something meant or how should the case proceed going forward.

As | have always said, this matter would be handled by the career people who are independent. They
lve from admunistraton to adrrwrastration. Their rate is to follow the facts and follow the law and make a
determination as to what happened and what those next steps should be.

But you know, in my role as atlarney general, there are cases that came up to me | am informed of
them fram time tofime. This case, as you know. has generated a fol of attention. [fl be informed of
those findings as opposed to never reading them or never seeing them. But | vail be accepting ther
recommendations and their plan for gaing forward.

CAPEHART: So The New York Times reported this morning that the Justice Department -- Justice
Department officials said back in Apri that whai you're talking about right now was already being
considered And so the question is, before President Clinton boarded your plane in Arizona, nad you
already made the determination that what you're announcing today was indeed what you were going to
do? ‘

LYNCH: Yes. | had already determined that that would be the process And in large part. #'s because.
as you -- as fm sure you know, as a journalist, | do get this question a jot. And as fve set on occasions
as to why we don't talk about ongoing investigations in terms of what's being discussed and who's
being intermewed, is to preserve the integrity of that investigatian. We aiso typicatly don't talk about the
process by which we make decisions, and f have provided that response too

But in this situation, you know, because { did have that meeting, # has raised concerns. | feel, and | fee!
that while | can certainly say this malter’s going to be handled ke any other, as #@ has always been. it's
going to be resolved like any other, as tt was always going to be. | think people need the information
about exactly how that resolution wil come about in order to know what that means and really accept
that and have faith in the ulimate decision of the Department of Justice

CAPEHART: So back to my first question the what were you thinkang question
(LAUGHTER)

But fet me put a diferent spin on @ and ask, when you're -- you're on your plane -- fromm what | have
been -- been in Washington a while and knowing how the protocol works, you land. folks gat off you get
off. for ail sorts of reasons but t's very fast. You're on your plane, and in walks the former president of
the United States. What were you thinking at that moment?

(LAUGHTER)

LYNCH: Well, as I've said, you know, he sas hello and we basically said hello. and | congratulated him

on his grandchildren, as people tend to do. And thal led to a conversation about those grandchildren,
who do sound great

(LAUGHTER)

And that led to a conversation about his travels, and he tald me what he had been doting in Phoenix and
vanous things. And.then we spoke about, you know, former Attorney General Janet Reno. But it realty
was a social meeting, and t was — # was — it really was in that regard.

He spoke to me, spoke fo my husband for some time an the plane, and then we moved on As | have
said before, though, | do think that no matter how | viewed it, understand how people view #. And | think
because of that, and because of the fact that t has now cast a shadow over how this case may
perceived, no matter how it's resolved, it is umportant to talk about how 4 will be resolved.

FBI-9
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 76 of 95

it's important to make # clear that that meeting with President Clinton does not have a bearing on how
this matter wil be reviewed, resolved and accepted by me. Because that is the queston that 1 raises

So, again, no matter how | viewed it — how | wewed the meeting, | think what is important to me is. how
do people viewed the Department of Justice because of that meeting? How do people view the team
that is working on this case and has from the beginning, because of that meeting? How do people
viewed the work that we do every day on behalf of the American people, which we strive to do with
integrity and independence?

So, that is the question for me, and that is why | felt 4 was important to tak about what impact that
meeting would have on the case, which id won't, but in order to explain that, we have to talk about how it
will be resolved.

CAPEHART: Now, you've known president Clinton for a long time. He is the one who nominated you
and appointed you to U.S. attorney for the Eastern District in 1999. So, | am wondering. do you have --
S50, you have -- you have a relationship, is what | am trying to get at in terms of just long —- long-standing
professional relationship.

So, you would be weil within your right to say, get off my plane. What are you doing here?
(LAUGHTER)

Do you -- de you — do you regret not telling the former president of the United States to leave the
premises?

LYNCH: So. well, as I've said, you know, just -- | may have viewed it in a certain light, but the issue is
how does i impact the work that | do and work that the Department of Justice does. And | -- | certainly
would not do it again

(LAUGHTER)

And — you know, because tt has cast a shadow over i should not, over what @ will not touch. And that is
why, as I've said, | think it is important to talk about how this matter will be resolved, and how the review
and how the determinations and decisions will be made. You know, I can say, as | have said, it's going
to be handied by career people, and then we can make announcement as to what it is, but unless
people have insight into the process. you know, i's -- they're not going to be able to evaluate that

And the most important thing for me, as the altorney general, is the integrity of this Department of
Justice. And the fact that the meeting that | had is now casting a shadow over how people are gaing to
view that work. is something that | take seriously, and deeply and painfully

And so, | think it’s important to provide as much information as we can, so that people can have a full
view of how we do our work, and why we do our work, and how this — how this case is going to be
resolved, as well as how all the cases that we look ai are going to be resoived

CAPEHART: And so. of course, what has happened as a result of this are people out there in the word
who are saying, see, this is an example of the system that is n¢ged against the rest of us.

And you just said that -- thal this whole incident has been painful, is one of the .. one of the words - one
of the words you used. What would you say to the American people who might -- who betieve that yes,
indeed, this is an example of Washington rigged against them?

LYNCH: You know, | think that peopte have a whole host of reasons to have questions about how we in
government do our business, and how we handle business and how we handie matters

FBI-10
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 77 of 95

And | think that, again, | understand that my meeting on the plane with former President Clinton could
give them another reason to have questians and concems also. And that is something that -- and that's
where | thought — that's why { said it's painful to me, because the integrity of the Department of Justice
iS HT portarit.

‘And what t would say to people is to look at the world that we do: look at the matters that we work on
every day, whether they involve a high profile matter or a matter where you've never heard of the person.

Look at the victims that we deal with every day. Look at the peaple that we protect every day, because
that's our mission. And to the extent that this issue has overshadowed that mission, yes, that's painful
to me.

And so, | think it's important that we provide as much information as we can, so people can have faith
and confidence in the work of the department and the work of the people who carry on this work every
day.

CAPEHART: And last question on this. So, when might we expect your acceptance of these findings
and determination?

(LAUGHTER)
Are we looking at weeks, months. days?

LYNCH: Wel —.so, in terms of timing, | actually don't know that, because again, | don't have that insight
into -- into this, fd say the nuts and bolts of the investigation at this point in time.

They're working on it; they're working on it very hard. They're working on it to make sure that they're as
thorough as they can be, that they've covered every angle, that they've looked at every issue They're
doing the work that the people in the Department of Justice do every single day.

And | could not be more proud of that work. And { could not be more proud to present that work to the
Amencan peaple, when this matter is resolved. And we can let people know the conclusions of this
investigation.

CAPEHART: Maving on...
(end of relevant comments)

FBI-11
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 78 of 95

Franklin, Shirlethia {OAG)

 

 

 

 

From: Franklin, Shidethia (QOAG)

Sent: Tuesday, June 28, 2016 1:22 PM

re [seco sn seco) be
(LV) (FBI)

Subject: Fwd: Bill Clinton meeting?

FYL - stepping out to deal with this.
Shindethja
Begin forwarded message:

From: “Lewis, Kevin S. (OPA)" <kslewis@jmd.usdo}j. gov<mailto:kslewis@jmd.usdoj.gov>>

Date: June 28, 2016 at 10:18:08 AM MST

To: "Pokomy, Carolyn (OAG)" <cpokomy@jmd.usdoj.gov<mailto:cpokomy@jmd.usdoj.gov>>

Ce: "Newman, Melanie (OPA)" <mnewman@jmd.usdoj.gov<mailto:mnewman@jmd.usdoj.g
ov>>, “Axelrod, Matthew (ODAG)” <maaxelrod@ imd.usdoj.gov<mailto:maaxelrod @jmd .usdoj.go
v>>, "Franklin, Shidethia (OAG)“ <shfrankiin@jmd.usdoj.gov<mailto:shfranklin@jmd.usdoj.gav>>
. "Amuluru, Uma (OAG)” <gamuluri@jnd.usdoj.gov<mailte:uamuluru@|md.usdoj.gov>>

Subject: Re: Bill Clinton meeting?

+ SF and Uma
Sent from my iPhone

On Jun 28, 2016, at 10:15 AM, Pokorny, Carolyn (GAG) <cpokorny@jmd.usdoj.gov<mailto:cpokorny
@jmd.usdoj.gov>> wrote:

+Matt.
iim free.
lwill get a conference call line.

Carolyn Pokorny

Office of the Attarnay General

U.S. Department of Justice

950 Pennsylvania Avenue N.W.

Washington, D.C. 20530

Email: carolyn. pokomy @usdoj.gov<mailto:carolyn.pokorny@usdoj.gov> Office: (202) 616-2372 Cell:
b6é per OIP

From: Newman, Melanie (OPA)

Sent: Tuesday, June 28, 2016 1:15 PM

To: Pokomy, Carolyn {OAG}; Lewis, Kevin §. (OPA)
Subject: Fwd: Bil Clinton meeting?

VBlan mw mned oe tothe Crem onion afd b6 per OIP

FBI-12
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 79 of 95

YE MeTU LY LOUK. Ft Un) vd b6 per OIP

Bagin forwarded message:

From: “Levine, Mike”] | b6 per OIP
Date: June 28, 2016 at 1:14:13 PM EDT

To: Melanie Newman <Melanie.Newman@usdoj.gov<mailto:Melanie. Newman @usdoj.gov>>, Kevin
Lewis <Kevin.S.Lewis@usdoj.gov<mailto:Kevin.S. Lewis @usdoj.gov>>

Subject: Bill Clinton meeting?

Hey guys, wanted to address something ASAP... Apparently our affiliate in Phoenix is hearing that the
AG met with Bill Clinton on a plane last night for closé to an hour. They séem to think it's somehow
connected to the Benghazi report released today (i'm not sure what the connection would be}. But
hoping ! can provide them some guidance ASAP. Thanks

~Mike

FBI-13
 

Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 80 of 95

[tsecn) (rat)
From: — (Tose ce) (F) bé -1,2

Sent: Saturday, July 02, 2016 2:28 PM bic -1,2
Te:
Subject: Re: EXCLUSIVE: Security Source Details Bill Clinton Maneuver to Meet Loretta

Lynch ~ Observer

Thank you Sir, | appreciate that.

----- Original Message --~
From |
Sent: Saturday, luly 02, 2016 02:19 PM ae

To:_____JSECO} (FB) pre

Subject: Re: EXCLUSIVE: Security Source Details Bill Clinton Maneuver to Meet Loretta Lynch - Observer

 

 

 

 

Thank you for the response. I'd like to think learned a little about security, watching the high leval of
professionalism of your team.

CI

 

 

b6 -1,2
> On Jul 2, 2016, at 1:47PM, _____ISECD) (FEN _|wrote: pic -1,2
>»
> Sir,
> Thank you for the article.
>

> | agree with your assessment about the source, which in reading the article, | belfeve was one of the
local PD officer assisting with one of the two motorcade there on the Tarmac. fither way, they should
have never offered any type of opinion or details of what did or didn't happen, as this is the most
principle and basic tenant of executive protection.

>

> Unfortunately, this article is a breach in security protocol and | am addressing it with the Phoenix
division to make certain that they pursuit this and identify the source of the breach.

>

> The fortunate piece of this article is that the majority of the tactics and logistics that the article
mentions are textbook procedures and industry standard for most executive protection details.

*

> Let me know if have any other questions or concerns.

*

> Thank you,
. b6 -1
. b7Cc -1

>

FBI-14
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 81 of 95

 

>

>

> —~- Original Message -----

> From: | b6 -1,2

 

> Sent: Saturday, July 02, 2016 12:09 PM b7Cc -1,2
> To: |(SECD} (FBI)

> Subject: EXCLUSIVE: Security Source Details Bill Clinton Maneuver to Meet Loretta Lynch - Observer

“>

> :

> https://www.google.com/amp/observer.com/2016/07/exclustve-security-source-details-bil- clinton-
maneuver-to-meet-loretta-tynch/amp/?client=safari#t

>

> Good moming, sir

+»

> I've attached a news article that | thought you might be interested in. The so called “informant” talks
about what happened on the tarmac at the airport, which sounds somewhat accurate. But, what | found
most disturbing was the mentioning of securlty procedures by FBI and/or Secret Service.

> Hey, I'm just a layman, but this person sounds like a security threat to me. Please read the article (if
you haven't already} because I'd love to get your opinion on this. Feel free to call me on my cell, if
that’s easier than emailing.

a»

> Thanks
b6 -2
b7c ~2

FBI-15
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 82 of 95

| seco) {FB!)
bé -1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

b7c -i
From: [seco (Fe)
Sent: Sunday, July 03, 2016.2:06 PM
To: LV) (F81};| (seco) (FBI); |
ECD) (FETT {iSECD} (FBI); (SECD}
(FBI);] jeNY) (FB); [(SECD} (FB1};| }
~_ WNY) (FBI)Y (HO) (FBI);t I(HO) (FBI: bé -1
ESECD (FBI) FSECO) (FBI);] b7C -1
(CG) (FBI (SECD) (FBIY HSECO} (FBU):
[ JSECD} (Fens (WF) (FBI
(SECO) (FBI |(SECD (FBI); SECD)
(FBH:| [(SECD) (FBN
Ce: (Jsecn) (Fei)
Subject: Must Read Security Article
All,

Please read the attached article, regarding the AG’s meeting with Clinton. | belleve that the source
quoted in this article is one of the local Phoenix LEO's. Needless to say that | have contacted the
Phoenix office and will contact the local’s who assisted in an attempt to stem any further damage. This
is exactly why our Discretion and Judgement are the foundation of the AG's trust In our team, which Is
why we can never violate that trust, like the source did tn this article.

http://observer.com/2016/07/exclusive-security-source-details-bill-clinton-maneuver-to-meet-loretta-

lynch/

T d,
b6 -1
b7C -1

 

FBI-16
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 83 of 95

| liseco) (Fai)
From [eee oy eran re

Sent: Sunday, July 03, 2026.2:18 PM
rs [seco rn
Subject: Re: Must Read Security Article
Absolutely!

From;| (SECD (FB

Sent: Sunday, July 03, 2016 02:16 PM
To; |(SECD) {FBT} b6 -1

bject: RE: Must Read Security Article bIC -1

 

This article is infuriating

—- Original message
From: (SECD) (FBI)”
Date: 07, 6 2:05 PM (GMT-05:00
Ta: (LV) (FBS)

 

 

 

 
 
  
  

  

   
 

SECD) (FBi"

     
    
 

      
    

SE FBI

      

SECD SECD} (FBI}"

    

-b6 -1

NY) (FBI BIC -1

SECD) (FBY"
NY} (FBi)”

 
 
 
   
 
 
   
  
    
 

 

SECD

 
  

 

(SECD)

  
 
  

 

(CG) (FB1)" (SECD) (FBI)"
SECD

SECD

   

Fel”

 

SECD} (FBI

   

SECD (FBI}”

   
 
 
 

  

SECD.

SECD) (FBI) be -1

b7c -1

 
      
 
  

Cc
Subject:

SECD) (FBI)
rity Article

 
 

st

AN,

Piease read the attached article, regarding the AG's meeting with Clinton. { believe that the source quoted in this article is
one of the focal Phoenix LEO’s. Needless ta say that i have contacted the Phoenix office and will contact the local's who
assisted in an attempt to steavany further damage. This is exactly why our Discretion and Judgement are the foundation
of the AG's teust in our team, which is why we can never violate thattrust, like the source did in this articie.

 

FBI-17
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 84 of 95

| [{SECD) (FBI)
From: [_____ (seco) (rey) bé -1

Sent: Sunday, July 03, 2016 2:53 PM b7C ~4
To: [J seco)
Subject: Re: Must Read Security Article

That might not be a bad idea, given the circumstances.

From:[____ SED) {FB}

Sent: Sunday, July 03, 2016 02:45 PM b6é -1
fo ISECD) (FB bre -4
Subject: RE: Must-Read Security Article

You think there will be a need for non-disclosure agreements in the future?

 

 

 

 

 

 

 

  
 
  

 

 

   
 

 

 
   
   

S
Federal Bureau of Investigation
Attomey General's Protection Detail b6 -1
icell) b7c -1
{office}
inal €-
From: CD) (FBI)’] |
Date: 07/03/2016 2:05 PM (GMT-09:00

   

To: {LV} (FBI)"

 

[SECD} {FB}

       
   
 
 
 
  
   
 
  
   

 

 

SECD} [FBI

 
  
   

   

FBI (SECD) (FBN"

NY) {FBR bé -1
SECD) (FBI)” bic -i
NY} (FBY}”

"| | J

SECD (FBS}"

 
 

FBI}

SEC
(SECD} (FBt)"
FBR"

 
     
    
 

   

 

SECD) (FBI {SECD (FBI}"
b6 -1

(SECD) (FBI
b7c -1

}

 
 
 
 

 

SECD} (FBI”
Article

 
 

All,

Please read the attached article, regarding the AG's meeting with Clinton. j believe thatthe source quoted in this article is
one of the local Phoenéy LEQ’s: Needless to sav that i have contacted the Phoenix nftice anni will contact the lacal’s whn

FBI-18
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 85 of 95

a ame om NEI RMR SR RW REN RHR We aR BORE a EOF Wom HER | CO we RE Ne Ry RE BE a Emam ee ES oe

assisted in an atrempr to stem any further damage. This is exactly why aur: Discretion and Judgement are the foundation
of the AG's trust in our team, which is why we can newer violate that trust, like the source did in-this article.

 

hitp {fobserver.e

b6 -7
, b7¢c -4

 

FBI-19
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 86 of 95

| seco) (Fei)
From: [_|tsecoy eran

Sent: Sunday, July 03, 2016 5:18 PM
re co -
Subject: Re: Must Read Security Article bIC 1

No [think it was one the PX PD officers helping both motorcades.

From {ics (Fel)
Sent: Sunday, July 03, 2016 05:12 PM
Tor ISECD) (FN bé -1

Subject: RE: Must Read Security Article bIC ~i

Do you think it was a swat guy?

~~----- Original message —------
From: {SECD} (Fei |
Date: 07/03/2016 5:12 PM (GMT-05:00}

¥ b6 -1
es me
Subject: Re: Must Read Security Article

im trying to find out thru the PX STL Hopefully, we will find out and at the very minimum, make sure he
never works on any detail.

 

 

 

trom:{_] (cs) (F89
Sent: Sunday, July 03, 2016 05:09 PM
To: (SECD} (FRR

 

 

 

 

 

 

 

 

ok. . b6 -1
Subject: RE: Must Read Security Article bIC -1
We need to find that guy and bring him or her before a supervisor and opr
Original message -----——-
from: (SECD) (FBI)"| |
Date: 07/03/2016 2:05 PM (GMT-05:00}
Tof lLv) (FB SECD} (FBR" bé <1
[SECD) (EBL | b7C -1
[SECD} (FBt}"] -FSECD) (FB)
ia fern ;
FBI-20

 

 
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 87 of 95

  
 
  
  
  
     
 
  
 

wet yp ye erty

$ECD} (FB bé -1
NY} (FBI}" bIC -1
FBN"|

 

SECD) (FBI}”

 
  
 

  

(SECD} (FBI"

  

SECO) (FH)
(SECD

 
   
   
  
  

   

 

{SECD) (FBI) CD (FBIY

 

SECD}) (FBY"

ih ) Bet,

 

urity Article _
AY,

Please read the attached articie, regarding the AG's meeting with Clinton | believe that the source quoted in this article is
one of the iocal Phoensx LEO's. Needless to say that i have contacted ine Phoenix office and will cantact the local’s whe

assisted in an attempt to stem any further damage. This is exactly why our Discretion and Judgement are the foundation
of the AG's trust in our team, which is why we can newer violate that trust, fike the source did in this article

pyer-to-mpetJorevia-tyncny

  

FBI-21
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 88 of 95

NPO

_ ree

From: NPO

Sent: Thursday, June 30, 2016 2:38 PM

Te: Press (JMD}

Ce: Carr, Peter (OPA) (JMD)

Subject: FW: security details coordinate between Loretta Lynch/Bill Clinton?

Susan McKee

Unit Chief

National Press Office

FRI Office of Public Affairs

 

 

office

mobile bé -1

 

 

Frose: Zapotosky, Matt [mailto:matt.zapotosky@washpost.com]

Sent: Thursday, June 30, 2016 12:44 PM

To: NPO

Subject: security details coordinate between Loretta Lynch/eill Clinton?

Hi-~-

Weird question, but I'm tryirig to confirm that the reason former president Bill Clinton knew Attorney
General Loretta Lynch was at an airport in Phoenix this week is that the agents working their respective
security details (FBl in the case of the Attorney General) were coordinating during the time they were both
on the tarmac. Is anyone able to shed light on that question of how the former president knew the Attorney
General had just tanded and how a meeting between the two of them happened?

Many thanks,
Matt Zapot | The Washington Post

cal

bé -2
{202} 334-5873 {office}

FBI-22
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 89 of 95

Quinn, Richard P. {00} (Fel)

From: Quinn, Richard P. (DO) (FBI

Sent: _ Wednesday, June 29, 2016 4:55 PM

Ta: Newman, Melanie (OPA) UMD); Kortan, Michael! P. (DO} (FBI)
Ce: Lewis, Kevin S. (OPA) (JMD}

Subject: RE: FLAG.

Copyfhanks Melanie.

fichatd P. Quinn

Federal Bureau of tnvestigaiian
Media lovestigative publicity
Sh

7} b6 -1

 

 

 

 

weetenns Original message -~—---

From: "Newman, Melanie (OPA)" <Melanie.Newman@usdoj.gov>

Date: 06/29/2016 4:39 PM (GMT-05:00}

To: “Quinn, Richard P. {DO} (FBI"| | “Kortan, Michael P. (DO) (FBI)" Be <1
| Ce: "Lewis, Kevin &. (OPA} nich <Kevin.S.Lewis @usdoj.gov>

Subject: FLAG

 

{want to flag a story that is gaining some traction tonight. Daily Caller, The Hill and FOX News have picked up
a local Phoenty news report about a casual, unscheduled meeting between former president Bill Clinton and
the AG, it happened on Monday night. Our talkers on this are below, along with the transcript from the AG’s
Phoenix presser, where she was asked about this. Happy to discuss further by phone. Please let me know if
you get any questions about this. Thariks.

TRANSCRIPT .
REPORTER: Sources say that you met last night with former president Bil Clinton. Did the topic of Benghan
come up at all, or can you tell us what was discussed?

ATTORNEY GENERAL LYNCH: No. Actually, while I was landing at the airport, | did see President
Clinton at the Phoenix airport as'I.was leaving, and he spoke to myself and my husband on the plane. Our
conversation was a great deal about his grandchildren. It was primary social and about our travels. He
mentioned the golf he played in Phoeam, and he mentioned travels he'd had in West Viegima. We talked about
former Attomey General Janet Reno, for example, whom we both know, but there was no discussion of any
matter pending before the department or any matter pending before any other body. There was no discussion
of Benghazi, no discussion of the state department emails, by way of example. ‘T would say the current news of
the day was the Breaut decision, and what that might mean. And again, the depactment’s not involved in that or
mopkcated m that.

bS per OIP

 

 

 

 

FBI-23
 

Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 90 of 95

bS per OP

 

 

 

Melanie R. Newman

Director, Office of Public Affairs
U.S. Department of Justice
Direct: 202-205-1920

@Melaniebo)

b6 per OTP

FBI-24
 

Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 91 of 95

 

 

 

 

 

 

BO) (Fei
een nae
From: DO} (FB -
-1
Sent: Friday, July 01, 2016 12:27 PM
Te: [___}00) (F81); kortan, Michael P. (D0) (FBI); OPA-NPO
Subject: RE: FBI agents-no photes story
Was it perhaps hersecurity detail? They aré FBi agerts..
from:[___] (00) (FB)
Sent: Friday, July 01, 2016. 12:24 PM bE -1

To: Kortan, Michael P, (DO) (FBI); OPA-NPO
Subject: F8] agents-no photos story

FYSA,
ABC's Jack Date called to ask about this claim and wa hadn’t heard about it prior to his call. He's going to call
DOJ to ask.

Reporter: FBI ordered ‘no photos, no pictures,
no cell phones’ during Clinton/Lynch meeting

posted at 7:21 am ou July 1, 2016 by Larry O'Connor

Reporter Christopher Sign of ABC. 15 in’ Phoenix, AZ appeared on The O'Reilly Factor Thursday might to talk
about kis scoop involving that secret meeting between former President Bil Clinton and Attorney General
Loretta Lynch.

“The former president steps into her plane. They then speak for 30 minutes privately. The FBI there on the
tarmac instructing everybody around “no photos, no pictures, no cell phones.”

Interesting,

Fast of all, # isn't the FBI's job to tel journalists or private citizens they can't take photographs of a former
president and the Attorney General. What were the agents going to do, arrest people for taking a picture or
video?

Also, f there was nothing wrong with the meeting and # was totally mnocent, why were federal agents mstructed
to demand no one take a picture?

Finally, let's stop focusing on the fact that this meeting was inappropriate because Cinton s wife ts under
investigation by Lynch's Justice Department. I mean, that’s bad, but it's actually letting Lynch and Clinton of

' the hook a bit. By focusing on the appearance of conflict because Hillary Clinton is bemg mveshgated, we are
willfully overlooking the very real conflict in the fact that Clinton himself is under mvestigation, as the Grand
Poo-bah at the Clinton Foundatios. (Fox News)

 

 

FP TOT Leen. ceed im on Lande TEM anaes TA Sa tera eM emetic ie te Ace oe aca cde earn Be we seni ae ae ah he Ba he we

FBI-25
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 92 of 95

LDC FDL IVESOgADUT BHU MRMTy VWasmton 5 use OL privale enn as secrelary OF slate Das eApandca ty 100K aL
whether the possible “intersection” of Clinton Foundation work and State Department business may have
violated public corruption laws, three mtelligence sources not authorized to speak on the record told Fox News

This new investigative track is in addition to the focus on classified material found on Clinton's personal server.

“The agents are investigating the possible intersection of Cinton Foundation donations, the dispensation of State
Department contracts and whether regular processes were followed,” one source said

Yes, the investigation into the intersection of Cinton Foundation donations and the State Department simes
Fillary CEnton since it happened during her tenure as Secretary of State, but what about Bil Clinton? If the
State Department and Hillary Clinton acted improperty or Degally by commingfing staif and by granting favors
to Chnton Foundation donors, isn’t the Clinton Foundation, and Bil Cinton equally guilty of wrongdomg?

This may explain why the day after the sarrepttious meeting im Phoenix, Lynch’s Justce Department informed a
judge they were going to drag them feet on the release of emails connecting the former president! s foundation
and the State Department: (Daily Caller)

Department of Justice officials fled a motion in federal court late Wednesday seeking a 27-month delay m
producing cosrespondence between former Secretary of State Hillary Clinton’s four top aides and officials with
the Clinton Foundations and Teneo Holdings, a closely allied pubic relations firm that Bil Clinton belped launch.

if the court pernuts the delay, the public won't be able to read the communications until October 2018, about

2 months into her prospective first term as President. The four senior Clinton aides involved were Deputy
Assistant Secretary of State Michael Fuchs, Ambassador-At-Large Melanne Verveer, Chief of Staff Cheryi
Mills, and Deputy Chief of Staff Huma Abedin,

I guess when all of this adds up, it's clear why Lynch and her FBI agents were so intent on keeping this
inappropriate meeting private.

FBI-26
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 93 of 95

DO) (FB!)

From: CO oo} (F89 ne 1

Sart: Friday, July 01, 2016 1:24 PM

To: (eo) (F8,[___ Fo) (F81); Quinn, Richard P. (00)

(FBI); Kortan, Michael P. (DO) (FBI
Subject: FW: FBI agents-no photos story

Fros:[________] (00) (Fa

Sent: Friday, July 01, 2016. 1:23 PM
To: (SECD} (F8h
Subject: KE: FA] agents-no photos story b6 -1

thank{ | Doubt we would say anything, but for clarification will be good to Know.

[

From: (SECO) (FD
Sent: Faday, Ju 116 1:22 PM bé -1
To: (DO) (FB

Subject: RE: FSI agents-no photos story

 

Rybicld just talked to DOJ. They: are waiting to respond until they can talk to AGPD to determine exactly whet
happened. AGPD is traveling back to DC now.

----++-- Original message --~---~-

From[ D0 a |
Date: 07012016 1.13 PM (GMT-0£:09)

Tol ](SECD) €Bn| | bé -1
Subject FW: FBI agents-no photos story

 

 

 

 

Here’s the focal articie — national NBC has picked it op and asked us about it, We are reaching out to 001 OPA
as well, but thank you forthe contacts!

LC]

From: (00) (FBT b6é -1
Sent: Friday, July G1, 2016 12:24 PM

To: Kortan, Michael P. (BO) (FBR); OPA-NPO

Subject: Fa! agarits-no photos story

FYSA,
ABC's Jack Date called to ask about this claim and we hadn’t-heard about it prior to his call. He's going to call

FBI-27
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 94 of 95

DOJ to ask.

Reporter: FBI ordered ‘no photos, no pictures,
no cell phones’ during Clinton/Lynch meeting

posted at 7:21 am on Jaly 1, 2016 by Larry O'Connor

Reporter Christopher Sign of ABC 15 in Phoenix, AZ appeared on The O'Reilly Factor Thursday night to tatk
about his scoop involving that secret meeting between former President Bil Clinton and Attomey General
Loretta Lynch.

“The former president steps into her plane. They then speak for 30 mimutes privately. The FBI there on the
tarmac instructing everybody around ‘no photos, a0 pictares, no cell phones.”

Interesting.

First of all, it isn’t the FBI's job to tell journalists or private citizens they can't take photographs of a former
president and the Attomey General. What were the agents going to do, arrest people for taking a picture or
vio?

Ako, if there was sothing wrong with the meeting and i was totally innocent, why were federal agents instructed
to demand no one take a pictore?

Finally. fet’s stop focusing on the fact that this meeting was mappropriate because Chnton’s wife is under
investigation by Lynch's Justice Department. I mean, that’s bad, but it's actually letting Lynch and Cinton off
the hook a bit. By focusing on the appearance of conflict because Hillary Clinton is bemg investigated, we are
wilfully overlooking the very real conflict in the fact that Clinton homself is under mveshganon, as the Grand
Poo-bah at the Clinton Foundation. Fox News)

The FBI investigation into Hilary Clinton's use of private email as secretary of state has expanded to look at
whether the possible “intersection” of Clinton Foundation work and State Department business may have
violated public corruption law's, three intelligence sources not authurized to speak on the record tald Fox News.

This new investigative track is in- addition to the focus on classified material found on Clinton's personal server.

“The agents are investigating the possible intersection af Clinton Foundation donations, the dispensation of State
Department contracts and whether regular processes were followed,” one source said.

Yes, the mvestigation into the intersection of Clinton Foundation donations and the State Department simes
Hillary Clinton since it happened during her tenure as Secretary of State, but what about Bill Clinton” If the
State Department and Hillary Chnton acted improperly or Degally by comminghng staff and by grantng favors
to Clinton Foundation donors, isn't the Clinton Foundation, and Bil Clinton equally guilty of wrongdomg?

This may cxplain why the day after the surreptitious meeting in Phoenix, Lynch's Jusuce Department mformed a
judge they were going to drag thei feet on the release of emails connecting the former president's foundation
and the State Department: (Daily Caller)

TDenartment af fictice officials filed a mantion in farieral ccart late Wednactay seeiono a 27 month delaum

FBI-28
Case 1:17-cv-01866-APM Document 14-2 Filed 02/01/18 Page 95 of 95

Ae A eh Sette GAN. A A Rt Wt Re ROE Nhe, Re A Sah: ah ENA Tal Sh Sh lh NW mm

 

we em 2 tite

producing correspondence between former Secretary of State Hillary Clinton’ s four top aides and officials with
the Clinton Foundation and Teneo. Holdings, a closely allied public relations firm that Bil Clinton helped launch.

If the court permits the delay, the public won't be able to read the commnmications until October 2018, about
22 months into her prospective first term as President. The four seaior Cinton aides involved were Deputy
Assistant Secretary of State Michael Fuchs, Ambassador-At-Large Melanne Verveer, Chief of Staff Cheryl
Mitts. and Deputy Chief of Staff Huma Abed.

I guess when all of this adds up, 2’s clear why Lynch and her FBI agents were so aitent on keeping this
inappropriate meeting privaiz.

FBI-29
